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EXHIBIT “A”  

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STIPULATION AND AGREEMENT OF SETTLEMENT

lt is hereby agreed and stipulated by and between the Parties as follows:

1. Definitions

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Persons or Entities

l.l.l.

“Banner” shall include all Banner entities, including, but not limited to,
Banner Supply Co., Banner Supply Co. Pompano, LLC, Banner Supply
Co. Port St. Lucie, LLC (“Banner PSL”), Banner Supply Co. Ft. Myers,
LLC, Banner Supply Co. Tampa, LLC, Banner Supply International, LLC,
and any other entity insured under the Banner lnsurance Policies and all of
their past and present owners, shareholders, officers, directors, agents,
attorneys, employees, parents, associates, subsidiaries, divisions, affiliates,
insurers, and all predecessors and successors, assigns, or legal
representatives

l.l.2. “Insurers” shall include Chartis, FCCI, Hanover, and Maryland Casualty.

l.l.2.l. “Chartis” shall include Chartis Specialty lnsurance Company
(formerly known as “American International Specialty Lines
lnsurance Company”), lllinois National lnsurance Co., National
Union Fire lnsurance Company of Pittsburgh, Pa., Commerce &
Industry lnsurance Co., any other sister entities or entities related
to the foregoing or to American International Group, lnc. and all
past, present, and future officers, directors, board members,
members, agents, attorneys, consultants, claim administrators,
managers, employees, partners, parent corporations, sister
corporations, subsidiaries, affiliated entities, related entities,
divisions, heirs, associates, sureties, stockholders, shareholders,
retail dealers, distributors, insurers, reinsurers, and all
predecessors, successors, assigns, legatees, legal representatives,
and any other stakeholders of each of the foregoing

l.l.2.2. “FCCl” shall include FCCl lnsurance Company, FCCI
Commercial lnsurance Company, National Trust lnsurance
Company, FCCI Mutual lnsurance Holding Company, FCCI
Group, Inc., FCCI lnsurance Group, Inc., Monroe Guaranty
lnsurance Company, FCCI Services, lnc., FCCI Advantage
lnsurance Company, Brierfield lnsurance Company, FCCl
Agency, lnc., and all past, present, and future officers, directors,
board members, members, agents, attorneys, consultants, claim
administrators, managers, employees, partners, parent
corporations, sister corporations, subsidiaries, affiliated entities,
related entities, divisions, heirs, associates, sureties,
stockholders, shareholders, retail dealers, distributors, insurers,

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reinsurers, and all predecessors, successors, assigns, legatees,
legal representatives, and any other stakeholders of each of the
foregoing

l.l.2.3. “Hanover” shall include Hanover American lnsurance Company,
Hanover lnsurance Group, Inc., and all past, present, and future
officers, directors, board members, members, agents, attomeys,
consultants, claim administrators, managers, employees,
partners, parent corporations, sister corporations, subsidiaries,
affiliated entities, related entities, divisions, heirs, associates,
sureties, stockholders, shareholders, retail dealers, distributors,
insurers, reinsurers, and all predecessors, successors, assigns,
legatees, legal representatives, and any other stakeholders of
each of the foregoing

l.1.2.4. “Maryland Casualty” shall include Maryland Casualty
Company, all companies in the Zurich North America group of
insurance companies, and all past, present, and future officers,
directors, board members, members, agents, attorneys,
consultants, claim administrators, managers, employees,
partners, parent corporations, sister corporations, subsidiaries,
affiliated entities, related entities, divisions, heirs, associates,
sureties, stockholders, shareholders, retail dealers, distributors,
insurers, reinsurers, and all predecessors, successors, assigns,
legatees, legal representatives, and any other stakeholders of
each of the foregoing.

l.l.3. The “Class” or “Class Members” shall include all persons or entities with
claims, known and unknown, against the Settling Defendants arising from,
or otherwise related to, Chinese Drywall purchased from, supplied,
distributed, marketed, used, sold and/or delivered by Banner.

“Parties” shall mean any and all persons or entities identified in Section l.l.

“Homeowner” shall mean any current or former owner of an Affected Property,
whether the Affected Property is remediated, is in the process of being
remediated, is foreclosed upon or whose title has otherwise been impaired, and
any family members, licensees, invitees, renters, and lessees.

“Affected Property” shall mean any real or personal property, residential or
commercial, containing Chinese Drywall purchased from, supplied, distributed,
marketed, used, sold and/or delivered by Banner.

The “Banner lnsurance Policies” shall mean:

l.5.l. The “Chartis Policies” shall mean those policies of insurance identified in
Exhibit A; and

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1.5.2. The “Other Banner lnsurance Policies” shall mean those policies of
insurance identified in Exhibit B.

“Chinese Drywall” shall mean any and all drywall products purchased from,
supplied, distributed, marketed, used, sold and/or delivered by Banner alleged to
be defective and manufactured, in whole or in part, in China, or that include
components manufactured, in whole or in part, in China, including, but not
limited to, drywall manufactured by Knauf Gips KG; Knauf Plasterboard
(Tianjin) Co., Ltd.; Knauf Plasterboard (Wuhu), Co., Ltd.; Gebrueder Knauf
Verwaltungsgesellschaft, KG; Guangdong Knauf New Building Materials
Products Co., Ltd.; Beijing New Building Materials Public Ltd. Co.; Taishan
Gypsum Co., Ltd. f/k/a/ Shandong Taihe Dongxin Co., Ltd.; Taian Taishan
Plasterboard Co., Ltd.; Pingyi Zhongxin Paper-Faced Plasterboard Co., Ltd. f/k/a
Shandong Chenxiang Building Materials Co., Ltd.; Crescent City Gypsum, lnc.;
and any other manufacturer of Chinese drywall.

“Class Representatives” shall mean Dr. Robert Brown, Felix Diaz, Amelia De
Jesus, Richard Sage, Villa at Oak Hammock, LLC, and WM Townhomes, LLC.

The “Plaintiffs’ Steering Committee” (PSC) shall mean the group of plaintiffs’
counsel appointed by the Honorable Eldon E. Fallon to manage and administer
the affairs of all plaintiffs in MDL No. 2047 and to assist the Court in
administering its docket. The PSC, as currently constituted, is described by
Pretrial Order No. 8A (Rec. Doc. No. 6960).

“Counsel” shall mean:

l.9.l. Plaintiff`s’ Class Counsel shall mean Russ Herman of Herman Herman
Katz & Cotlar LLP, 820 O’Keefe Avenue, New Orleans, LA 70ll3,
Arnold Levin of Levin, Fishbein, Sedran & Berman, 510 Walnut Street,
Suite 500, Philadelphia, PA 19106, and Ervin Gonzalez of Colson Hicks
Eidson, 255 Alhambra Circle, Penthouse, Coral Gables, FL 33134.

l.9.2. As to the PSC, those counsel participating in the PSC as more fully
identified in Section l.8.

l.9.3. As to Chartis, Jane M. Byrne of Quinn Emanuel Urquhart & Sullivan,
LLP, 51 Madison Avenue, 22nd Floor, New York, NY lOOlO.

l.9.4. As to FCCI, Robert M. Darroch of Goodman, McGuffey, Lindsey &
Johnson, 3340 Peachtree Road NE, Suite 2100, Atlanta, GA 30326.

l.9.5. As to all Banner companies, other than Banner PSL, Todd Ehrenreich, of
Weinberg Wheeler Hudgins Gunn & Dial LLC, 2601 South Bayshore
Drive, Suite 1500, Miami FL, 33133.

l.9.6. As to Banner PSL, Michael P. Peterson, of Peterson Espino, P.A., lO63l
North Kendall Drive, Suite 220, Miami, FL 33176.

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l.9.7. As to Maryland Casualty, Stephen Berry of McKenna Long & Aldridge,
LLP, 303 Peachtree Street, NE, Suite 5300, Atlanta, GA 30308.

l.9.8. As to Hanover, John Malloy of Robinson & Cole LLP, 280 Trumbull
Street, Hartford, CT 06103.

The “Court” shall mean the Honorable Eldon E. Fallon who presides over In re
Chinese Manufactured Drywall Products Liabilily Litigation, MDL No. 2047, in
the Eastem District of Louisiana.

“Litigation” shall mean Payton, et al. v. KnaufGips, KG, et al., Case No. 2:09-cv-
07628 (E.D. La.) (Omnibus I, I(A), I(B), and I(C)); Wiltz, et al. v. Bei]`ing New
Building Materials Public Limited Co., et al., Case No. 2:lO-cv-0036l (E.D. La.)
(Omnibus ll, ll(A), Il(B), and II(C)); Gross, et al. v. KnaufGips, KG, et al., Case
No. 2:09-cv-6690 (E.D. La.) (original complaint, Omnibus III and III(A));
Rogers, et al. v. Knauf Gips, KG, et al., Case No. 2:10-cv-00362 (E.D. La.)
(Omnibus IV, lV(A), lV(B), and IV(C)); Amato, et al. v. Liberty Mut. Ins. Co., et
al., Case No. 2:lO-cv-00932 (E.D. La.) (Omnibus V); Hernandez, et al. v. AAA
Ins., et al., Case No. 2:lO-cv-3070 (E.D. La.) (Omnibus Vl); Abel, et al. v.
Taishan Gypsum Co., Ltd., f/k/a Shandong Taihe Dongxin Co., Ltd., et al., Case
No. 2:ll-cv-00080 (E.D. La.); Abreu, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al., Case No. 2:ll-cv-00252 (E.D. La.); Haya, et
al. v. Taishan Gypsum Co., Ltd., f/k/a Shandong Taihe Dongxin Co., Ltd. et al.,
Case No. ll-cv-1077 (E.D. La.); Vickers, et al. v. KnaufGips KG, et al., Case No.
2:09-cv-04l l7 (E.D. La.); and all other Related Actions as set forth in Exhibit C.

“lnsurance Proceeds” shall mean $54,475,558.30 which represents (a) as to
Chartis, sixty-one million ($61,000,000) dollars, reflecting fifty-five million
($55,000,000) dollars, which are the limits of the Chartis Triggered Policies, plus
six million ($6,000,000) dollars in proceeds from Hanover’s policies identified in
Exhibit B, less Prior Settlements and Pending Settlements; (b) as to FCCI, two
million ($2,000,000) dollars; and (c) as to Maryland Casualty, three million
($3,000,000) dollars.

“Pending Settlements” shall mean seven (7) confidential settlements entered into,
but not yet fully documented, by Banner as of the date of the Preliminary
Approval Order, releasing claims against Banner and Chartis relating to Chinese
Drywall in exchange for payment of $5,235,324.00 of Banner'S gross insurance
assets. A list identifying the Pending Settlements will be filed with the Court
under seal.

“Prior Settlements” shall mean those five (5) confidential settlements entered into
by Banner with executed settlement agreements releasing claims against Banner
and Chartis related to Chinese Drywall in exchange for payment of $6,289,117.70
of Banner's gross insurance assets. The Prior Settlements will be filed with the
Court under seal.

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“Released Claim” or “Released Claims” shall mean any and all claims as more
fully identified in Section 3.l et seq.

“Related Actions” shall mean state, federal, international tribunal, or arbitration
claims against Settling Defendants relating to Chinese Drywall purchased from,
supplied, distributed, marketed, used, sold and/or delivered by Banner, including,
but not limited to, the matters identified in Exhibit C hereto.

“Related Claims” shall mean unlitigated claims against Settling Defendants
related to Chinese Drywall purchased from, supplied, distributed, marketed, used,
sold and/or delivered by Banner.

The “Settlement” shall mean this Stipulation and Agreement of Settlement and all
of the attached exhibits incorporated herein by reference.

“Settling Defendants” shall mean Banner, Chartis, FCCI, Hanover, and Maryland
Casualty.

The Triggered Policies shall mean (a) Chartis policies BE 9300273, BE 8688025,
BE 5543482, and 7606364; (b) Maryland Casualty policy PPS 42534587-02; (c)
FCCI policies GL0004593-l and UMB0004524-l; and (d) Hanover policies ZZJ
8740164-00, ZZJ 8740164-02, and ZZJ 8740164-03.

2. Effective Date

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3. Release

3.l.

The “Effective Date” of this Settlement shall be the date when the Settlement is
Final. “Final” means:

2.l.l. If no objections to the Settlement are filed, or if any objections are filed
and voluntarily withdrawn prior to entry of the Order and Judgment, then
the date thirty (30) days following the approval by the Court of the Order
and Judgment and its entry onto the Court’s docket if there is no appeal; or

2.l.2. If any objections are filed and not voluntarily withdrawn prior to the entry
of the Order and Judgment, or if there is an appeal, then the later of: (a)
the expiration of time to file or notice any appeal or move for reargument
from the Court’s Order and Judgment approving this Settlement; or (b) the
date of final resolution of any appeals therefrom.

“Released Claim” or “Released Claims” shall mean any and all claims against any
Settling Defendants whatsoever (a) arising out of, in any manner related to, or
connected in any Way with Chinese Drywall, or the collective mitigation of,
response to, and/or recovery from the damage caused by Chinese Drywall and/or
any act and/or failure to act related in any way to any of the foregoing, including
but not limited to, the ownership, use, rental, occupancy, design, construction,
maintenance, and/or inspection of the Affected Homes and/or (b) for any and all

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losses, damages and/or injuries arising from, in any manner related to, or
connected in any way with all and/or any of the foregoing, including but not
limited to, any and all claims that a Class Member has, may have, or may have
had, regardless of whether such claim is known or unknown, filed or unfiled,
asserted or as yet unasserted, or existing or contingent, whether asserted by
petition, complaint, cross-claim, third party complaint, arbitral demand, written
demand, or otherwise (or any judgment or order entered on such claims), based
upon or alleging any act, conduct, status or obligation of any person or entity
(including the Settling Defendants) and/or any source of liability whatsoever, and
regardless of the legal theory or theories of damages involved. Notwithstanding
the above, the only parties released are those persons or entities defined as
Settling Defendants This Settlement does not provide complete compensation to
redress all Class Members’ damages and therefore Class Members’ claims are
reserved against the non-settling defendants named in the Omni Complaints
pending in MDL No. 2047. The term “Released Claim” or “Released Claims”
includes, but is not limited to, the following claims arising out of, in any manner
related to, or in any way connected with, Chinese Drywall, the Litigation, or other
Related Actions:

3.l.l. For personal injury, bodily injury (including death), property damage,
remediation and/or clean-up of property, diminution of property value,
groundwater contamination, loss of use, loss of enjoyment, economic loss,
fear, fear of illness or disease, fear of developing illness or disease, fright,
mental distress, pain and suffering, loss of earnings, impairment of earning
capacity, loss of consortium, loss of support, loss of love and affection,
equity and medical monitoring, bystander liability, wrongful death,
survival actions, breach of contract, all statutory claims, punitive or
exemplary damages, attorneys’ fees, attorneys’ costs or expenses, moving
expenses, or additional rental or mortgage payments;

3.l.2. For nuisance, trespass, inconvenience, loss of use or enjoyment,
negligence, negligence per se, tort, public or private nuisance, custody of a
thing containing a vice or defect, strict liability, liability for ultrahazardous
activities or conduct, absolute liability, wanton and reckless misconduct,
malicious misconduct, servitude or obligation of vicinage, abuse of right,
or any other liability legally asserted or assertable under any federal, state,
or local statute, directive or regulation, redhibition, violation of Louisiana
New Home Warranty Act, Louisiana Products Liability Act (La. R.S.
9:28000.51 et. seq.), Louisiana Unfair Trade Practices and Consumer
Protection Law (La. R.S. 51: 1401 et. seq.), negligent discharge of a
corrosive substance, unjust enrichment, breach of express or implied
Warranty, breach of implied warranty of fitness and merchantability (such
as under Fla. Stat. § 718.203), breach of implied warranty of habitability,
negligent misrepresentation, building code violations (such as under Fla.
Stat. § 553.84), or fraud;

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. For damages or alleged damages resulting in whole or in part from

exposure of the Class or Class Members or property of the Class Members

_ to hazardous or allegedly hazardous, toxic, dangerous or harmful

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substances;

. For all personal injury and related statutory violations;
. For bad faith damages, extra-contractual damages and punitive damages;

. For any claims under La. R.S. 22:1892, La. R.S. 22:1269, or La. R.S.

22:l973;

. For any claims under Fla. Stat. § 501.201 et. seq., Fla. Stat. § 624.155, Fla.

Stat. § 626.951 et. seq., Fla. Stat. § 672.3l4, or Fla. Stat. § 718.203;

. For any claims under the Florida Deceptive and Unfair Trade Practices

Act (Fla. Stat. §501.203 et. seq,) or any other state or federal Consumer
Protection laws or for unfair trade practices;

. For any claims under any state or federal law, rule or regulation;

For derivative or vicarious liability arising out of the conduct or fault of
others for which the Settling Defendants may be responsible;

For any right legally assertable by the Class or any Class Member now or
in the future, whether the claim is personal to each individual, is derivative

-of a claim now or in the future, or as assignee, successor, survivor,

beneficiary, subrogee, or representative of a Class Member;

For a past, present, future, known, unknown, foreseen, unforeseen,
contingent, nascent, mature claim or a claim arising at law, in equity or
otherwise, including but not limited to, claims for survival and wrongful
death;

For any claim, right, or action arising out of, based on, or relating to any
body of law whatsoever;

For all injuries or damages of any type, nature, or character arising from,
attributable to, or in any way resulting from the Chinese Drywall;

For any conduct of any of the Settling Defendants with respect to Chinese
Drywall or the Litigation; however, this provision shall not prevent or
impede the enforcement of claims or entitlements to benefits under this
Settlement.

For any claim, known or unknown, for contribution, subrogation, or
indemnity, contractual or otherwise, arising out of, attributable to, or in
any way related to Chinese Drywall.

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3.2.

3.3.

3.l.l7. For any further claims and/or liabilities arising out of, or otherwise
relating to, the purchase, sale, supply, storage, handling, marketing,
distribution, and/or use of Chinese Drywall, including, but not limited to,
punitive damages, fines, interest, attomeys’ fees, and costs of any nature.

This Settlement does not release any claims whatsoever that the Settling
Defendants may have against third parties arising out of, in any manner related to,
or connected in any way with Chinese Drywall, including claims against Knauf
Gips KG; Gebrueder Knauf Verwaltungsgesellschaft, KG; Knauf Plasterboard
(Tianjin) Co., Ltd.; Knauf Plasterboard (Wuhu), Co., Ltd.; and Guangdong Knauf
New Building Materials Products Co., Ltd.; Beijing New Building Materials
Public Ltd. Co.; Taishan Gypsum Co., Ltd. f/k/a/ Shandong Taihe Dongxin Co.,
Ltd.; Taian Taishan Plasterboard Co., Ltd.; Pingyi Zhongxin Paper-Faced
Plasterboard Co., Ltd. f/k/a Shandong Chenxiang Building Materials Co., Ltd.;
Crescent City Gypsum, lnc.; and any other manufacturer or entity related to a
manufacturer of Chinese drywall. The Parties will not interfere with and will
reasonably cooperate with the Settling Defendants’ rights or efforts to assert
claims and obtain recoveries against third parties arising out of, in any manner
related to, or connected in any way with Chinese Drywall.

Class Release

3.3.1. As of the Effective Date of the Settlement, and with the approval of the
Court, all Class Members, and anyone claiming by, through, and/or on
behalf of any of them, hereby fully, finally, and forever release, waive,
discharge, surrender, forego, give up, abandon, and cancel any and all
Released Claims (as defined in Section 3.l) against the Settling
Defendants, including (but not limited to) those asserted, or that could
have been asserted, in the Litigation, the Related Actions, and/or the
Related Claims.

3.3.2. As of the Effective Date of the Settlement, all Class Members, and anyone
claiming by, through and/or on behalf of any of them, will be forever
barred and enjoined from asserting any and/or all Released Claims against
the Settling Defendants.

3.3.3. The execution of the Settlement shall not be construed as a release of any
claims the Class Members may have against any person and/or entity other
than the Settling Defendants. All Class Members reserve all claims
(including, but not limited to, any and all rights and causes of action, no
matter how arising, under any ordinance, code, law, statute, federal or
state, pending or dismissed, known or unknown) against any person and/or
entity other than the Settling Defendants named, or who could have been
named, in the Related Actions.

3.3.4. The Settlement Class and each of the Class Members shall satisfy any
judgment to the extent necessary (under applicable state law whether it be

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pro rata, pro tanto, and/or set off) to extinguish any claims for
contribution, indemnity, common law or contractual, and/or subrogation,
whether arising under tort, contract or otherwise, by such third party
against the Settling Defendants. The Settling Defendants shall have no
further liability in connection with the Released Claims, the Litigation, the
Related Actions, the Related Claims, and/or the Banner lnsurance Policies.

3.3.5. As of the Effective Date of the Settlement, to the extent of each Class
Member’s individual and net recovery, and to the extent the claim
described in this Section arises out of the claim of that Class Member,
each Class Member shall defend, indemnify, and hold harmless each of
the Settling Defendants from and against (a) any and all claims by, on
behalf of, through, or deriving from his, her, or its heirs, executors,
representatives, attorneys or former attorneys, successors, employers,
insurers, employers’ insurers, health insurers, health care providers,
assignees, subrogees, predecessors in interest, successors in interest,
beneficiaries or survivors; and (b) any claims for contribution, common
law indemnity, contractual indemnity, and/or subrogation, whether arising
under tort, contract or otherwise, related in any way to the Released
Claims of said Class Member released by this Settlement

3.3.6. To the extent that any entity or person other than Banner may have, or
may assert that it has (whether by way of being an additional insured, any
other insured, third-party beneficiary or otherwise) any rights (including,
but not limited to, rights to defense or for indemnification) under the
Banner lnsurance Policies, the Class and each of the Class Members shall
release all such rights and will not seek to assert those rights against the
Settling Defendants, whether by assignment, or subrogation, or otherwise,

3.3.7. lt is expressly understood and agreed that the Release shall extend to any
claim, demand, cause of action, right of action, liability, lien, or judgment
demand regardless of the legal basis for that claim, demand, cause of
action, right of action, liability, lien, or judgment demand asserted by any
person or entity to the extent related to the Released Claims against any
Settling Defendant In particular, the Class Members expressly bind
themselves to the foregoing regardless of whether the claim, demand, suit,
liability, lien, judgment, cause of action, or right of action is based on or
related to (a) the negligence of any of the Settling Defendants, sole or
concurrent; (b) the strict liability of any of the Settling Defendants under
any theory whatsoever; (c) the absolute liability'of any of the Settling
Defendants; (d) the wanton, reckless, or willful misconduct of any of the
Settling Defendants; (e) any actual, alleged or purported right, asserted by
any Settling Defendant or any Class Member under a policy of insurance
issued by one or more lnsurers; or (f) any other basis whatsoever.

3 .4. Banner Release

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3.4.1. Upon the Settlement becoming Final, Banner and/or any person who or
Which derives any right or claim from, by and/or through Banner, hereby
(i) releases, remises, waives, surrenders, foregoes, gives up, abandons,
cancels, acquits, and forever discharges any and all claims Whatsoever
against Chartis, FCCI, and Maryland Casualty, which claims arise out of,
or are related in any way to, Chinese Drywall, the Released Claims, the
Litigation, the Related Actions, the Related Claims, and/or the Banner
lnsurance Policies, including, but not limited to, (a) all claims for
insurance coverage, indemnity, “duty to defend,” bad faith claims, and/or
extra-contractual liability of any kind, which claims arise under Florida
law, the law of any other state, or any other law (including common law)
and (b) any and all past, present, and/or future claims arising out of, or
related to indemnity obligations, duty to defend, claims handling, claims
adjustrnent, breach of contract, breach of duty or duties, negligent
investigation, breach of warranty, failure to warn, breach of implied
warranty, breach of good faith and fair dealing, bad faith, negligent or
intentional interference with contractual relationships, deceptive trade
practices, unfair trade practices, unfair settlement practices, conduct in
violation of any insurance code, claims under La. R.S. 22:1220, Fla. Stat.
§ 501.201, et. seq.; Fla. Stat. § 624.155; Fla. Stat. § 626.951 et. seq.; Fla.
Stat. § 672.314; Fla. Stat. § 718.203, or any other alleged misconduct,
omission, or wrongdoing of any kind and (ii) agrees and stipulates (a) that
the aggregate policy limits under the Triggered Policies individually and
collectively, have been exhausted, and (b) that Chartis, FCCI, and
Maryland Casualty have no further duty to defend and/or indenmify
Banner, or any person or persons, entity or entities under the Banner
lnsurance Policies specifically identified in Schedules A and B,
individually and/or collectively, for the Released Claims. Until the
Settlement is Final, Chartis, FCCI, and Maryland Casualty shall, where
applicable, and consistent with the defense obligations previously
undertaken on behalf of Banner, continue to defend Banner in connection
with covered claims arising out of, or in any way related to, Chinese
Drywall, including, but not limited to, the Litigation, Related Actions, and
Related Clairns.

3.4.2. Banner represents and warrants that it has not assigned and will not assign
any claims it may possess against any lnsurer to any person or entity
except as set forth in Section 12.

3.4.3. Banner acknowledges that it has previously released Hanover of and from
all liability and/or obligations under the Hanover policies identified in
Section 1.20, and that such release (the “Prior Banner-Hanover Release”)
shall remain in force and effect whether or not the Settlement becomes
Final. Nothing contained herein is intended to nullify or void the Prior
Banner-Hanover Release.

3 .5. Mutual Release

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3.5.1. Upon the Effective Date of the Settlement, each lnsurer for itself and each
and all of its past, present, and future employees, attorneys, officers,
directors, agents, shareholders, stockholders, subsidiaries, consultants,
insurers, claims administrators, parent corporations, sister corporations,
divisions, affiliated entities, related entities, predecessors, successors, and
assigns shall release, remise, acquit, and discharge each and every other
Insurer, and each and all of their respective past, present, and future
employees, attorneys, officers, directors, agents, stockholders,
subsidiaries, consultants, insurers, claims administrators, parent
corporations, sister corporations, divisions, affiliated entities, related
entities, predecessors, successors, and assigns, from any and all manner of
actions, claims, demands, causes of action, or liabilities related to Banner
and the Banner lnsurance Policies, including but 'not limited to those for
subrogation, implied or express indemnification, contribution, insurance
coverage, “duty to defend,” bad faith, conduct in violation of any
insurance code, extra-contractual liability, and/or any other alleged
misconduct, omission, or wrongdoing of any kind, of whatever nature or
source, known or unknown, that the lnsurer ever had, now has, could have
had, may have in the future, or that it may acquire, against each and every
other lnsurer hereto. Each lnsurer each shall provide every other lnsurer
With the release set forth in Exhibit F.

3.5.2. The lnsurers’ subrogation rights under the Banner lnsurance Policies, any
other policy, or under law or equity, are preserved and are not released or
affected in any way by this Settlement, Unless one of the lnsurers’
insureds opts out of the Settlement, the Insurers shall be able to make
subrogation claims only against the Settlement Funds like any other
claimant. ln the event that an lnsurers’ insured having claims against
Banner opts out of the Settlement, then the lnsurer shall have whatever
legal, equitable or contractual rights to subrogation as may exist and
nothing contained in this Release shall bar or limit those clairns.

3.5.3. Upon the Effective Date of the Settlement, each lnsurer for themselves
and each and all of their past, present, and future employees, attorneys,
officers, directors, agents, shareholders, stockholders, subsidiaries,
consultants, insurers, parent corporations, sister corporations, divisions,
affiliated entities, related entities, predecessors, successors, and assigns
shall release, remise, acquit, and discharge Banner, its past, present, and
future employees, attorneys, officers, directors, agents, stockholders,
subsidiaries, consultants, insurers, parent corporations, sister corporations,
divisions, affiliated entities, related entities, predecessors, successors, and
assigns, from any and all manner of actions, claims, demands, causes of
action, or liabilities related to the Banner lnsurance Policies, the Related
Claims, the Related Actions, the Litigation, or any claims in connection
with Chinese Drywall, including but not limited to those for subrogation,
implied or express indemnification, contribution, failure to cooperate in
the investigation of any claims, the inability to seek damages from any

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third parties for monies paid to settle and/or resolve claims, bad faith
and/or any other alleged misconduct, omissions, or wrongdoing of any
kind, of whatever nature or source, known or unknown, that each lnsurer
ever had, now have, could have had, may have in the future, or that they
may acquire, against Banner. Each lnsurer shall provide Banner with the
release set forth in Exhibit G.

3.5.4. Upon execution of this Settlement, the Parties shall also execute the
Releases set forth in Exhibits D, E(l), E(2), E(3), F, and G, which
Releases shall become effective when the Settlement is Final.

4. Certification of Federal Rule of Civil Procedure 23(b)(3) Settlement Class and Related
Motions

4.1. This Settlement shall be subject to approval of the Court.

4.2. Upon receipt of executed letters from (i) Banner; (ii) Chartis; (iii) Hanover; (iv)
FCCI; and (v) Maryland Casualty accepting the terms of this Settlement,

4.2.1. Within ten (10) days, the PSC will move for preliminary certification of a
Class and an Order Preliminarily Approving the Settlement (the
“Preliminary Approval Order”).

4.2.2. The PSC shall file a separate motion, which the Settling Defendants shall
join, seeking the following Orders, which are to remain in force until the
issuance of the Order and Judgment:

4.2.2.1. Approval of an Order to stay all future payments from Banner
lnsurance Policies, other than payments in satisfaction of the
Settling Defendants’ obligations under the Prior Settlements or
Pending Settlements;

4.2.2.2. Approval of an Order or Orders to stay all claims as to all
Settling Defendants in the Litigation, the Related Actions, and
all Related Claims;

4.2.2.3. Approval of an Order or Orders staying and enjoining all claims
and cases in which any person or entity claims to be an insured,
additional insured, third-party beneficiary, or named insured
under any insurance policy issued to any Banner entity.

4.3. Any one of the Settling Defendants shall have the right to withdraw from the
Settlement if the Court does not issue any of the requested orders or if the Class is
not certified

4.4. The Parties will stipulate to the Court in the request for entry of the Preliminary
Approval Order that (i) the Class is being certified for settlement purposes only
pursuant to the Settlement, (ii) the Settling Defendants reserve the right to object

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to certification in the event this Settlement is terminated for any reason, including
termination pursuant to Section 11, and (iii) this Settlement shall have no
precedential effect with regard to certification of a litigation class that may arise if
this matter is not fully and completely resolved through this settlement effort, or
otherwise,

5. Notice to Class Members
5.1. Type of Notice Required

5.1.1. Upon preliminary certification of the Class, the PSC will disseminate the
Class Settlement Notice (“Notice”) by:

v 5.1.1.1. First-class mail, postage prepaid, to the last known address of all
Class Members who are identifiable through the Plaintiff Profile
Forms and their counsel;

5.1.1.2. First-class mail, postage prepaid, to the last known address of all
Class Members with claims in all Related Actions and their
counsel, including those Class Members ascertainable from
Banner’s records, such as the notices required by Fla. Stat. § 558
et. Seq.;

5.1.1.3. Publication in Better Homes & Gardens (Florida edition),
Floria'a Monthly, Parade Magazine newspaper supplement
(Florida edition), People (Florida edition), USA Today, and the
USA Weekend newspaper supplement (Florida edition);

5.1.1.4. Publication in the Bradenton Herald, Citrus County Chronicle,
Daytona Beach News-Journal, Fort Myers News-Press, Fort
Walton Northwest Florida Dain News, Fort Lauderdale Sun
Sentinel, Gainesville Sun, Jackson Counly Floridian,
Jacksonville Florida Times Union, Key West Citizen, Lake City
Reporter, Lakeland Ledger, Melbourne Florida Today, Miami
Herald, Naples Daily News, Ocala` Star-Banner, Orlando
Sentinel, Palatka Daily News, Palm Beach Post, Panama City
News Herald, Pensacola News Journal, Port Charlotte Sun
Newspaper, Sarasota Herald-Tribune, St. Augustine Record, St.
Petersburg Times, Stuart Treasure Coast News, Tallahassee
Democrat, Tampa Tribune, and The Vil_lages Dain Sun;

5.1.1.5. Publication in Nuevos Ecos, Diario Las Americas, El Nuevo
Herald, El Sentinel (Orlando), La Prensa (Orlando), Centro
Tampa (formerly Cem‘ro Mi Diario), La Gaceta, Siete Dias (7
Dias), El Latino Semanal, El Semanario Accion and La Palma;

5.1.1.6. Providing a press release distributed on national and Florida-
focused wires;

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5.1.1.7. Publication in internet banner ads on 24/7 Media Network and
the AOL Network;

5.1.1.8. Providing a copy of the Notice and requesting that it be posted at
the United States District Court, Eastern District of Louisiana,
Florida courts, and the 34th Judicial District Court, Parish of St.
Bemard;

5.1.1.9. Providing a copy of the Notice and requesting that it be posted at
each courthouse in which the Related Actions are pending;

5.1.1.10. Providing a copy of the Notice and requesting that it be posted
on the District Court’s Chinese Drywall MDL website, the
CPSC website, and the Florida Departrnent of Health website;

5.1.1.11. Providing a copy of the Notice and requesting that it be posted at
such other public places as may be ordered by the Court or by
request of the Parties; and

5.1.1.12. As the Court may direct, in accordance with the requirements of
Federal Rule of Civil Procedure 23(0)(2).

5.2. Class Settlement Notice Period

5.2.1. The “Class Settlement Notice Period” shall close 35 days after the
issuance of the Preliminary Approval Order.

5.2.2. All obligations established by Section 5.1 shall be completed within the
Class Settlement Notice Period.

5 .3. Payment for Notice
5.3.1. The PSC shall be solely responsible for the cost of providing notice.
5.4. Duty to Monitor

5.4.1. All persons should be on notice of their continuing duty to monitor the
Court’s docket for the most current filings and information The Court, in
its discretion, may alter, postpone or amend any of the deadlines
scheduled in this Settlement without additional formal notice. Orders of
any such changes are expected to be presented on the Court’s website:
http://www.laed.uscourts.gov/Drywall/Drywall.htm.

6. Ogt-Out
6.1. Opt-Out Period

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6.1.1. Upon close of the Class Settlement Notice Period, Class Members will
have sixty (60) days (or such different period as the Court may direct) to
opt out of the Settlement in accordance with Section 6.2. At the end of the
sixty (60) day period (and provided the Settlement is finally approved by
the Court), all Class Members who have not opted out of the Class Will be
deemed to be bound by the Settlement, and the relief provided by the
Settlement will be their sole and exclusive remedy for the claims alleged
by the Class.

6.2. Opt-Out Process

6.2.1. Any Class Member wishing to opt out of the Settlement must notify
Plaintiffs’ Lead Counsel, Arnold Levin (Levin, Fishbein, Sedran &
Berman, 510 Walnut Street, Suite 500, Philadelphia, PA 19106), counsel
for all Banner entities except Banner PSL, Todd R. Ehrenreich (Weinberg
Wheeler Hudgins Gunn & Dial, 2601 South Bayshore Drive, Suite 1500,
Miami, FL 33133), and counsel for all Banner entities, Michael P.
Peterson (Peterson & Espino, P.A., 10631 S.W. 88th Street, Suite 220,
Miami, FL 33186) in writing, postmarked no later than , 2011,
Which is sixty (60) days after the close of the Class Settlement Notice
Period. To be effective, the opt-out notice must set forth the full name and
current address of the Class Member seeking to opt out, be signed by the
Class Member, and contain a sentence stating: “The undersigned hereby
opts out from the Banner Settlement Class in the Chinese Drywall
Action.”

6.2.2. Arnold Levin, Todd R. Ehrenreich, and Michael P. Peterson shall be
obliged to file any opt-out notices with the Court no later than seventy
(70) days after close of the Class Settlement Notice Period.

6.3. Rights With Respect to Opt Outs

6.3.1. Consistent with the Court’s oversight of the process and its inherent
jurisdiction, the Parties recognize that the Court may use its good offices
to attempt to resolve, through mediation, any optout.

6.3.2. The Parties agree and acknowledge that any opt-out claim may be to the
detriment of Banner’s financial health and solvency so that Banner Will
have a right to terminate the Settlement in its sole discretion

6.3.3. Banner's right of termination begins immediately upon its receipt of the
opt out notice of any Class Member Who opts out of the Settlement,
Banner must exercise its right of termination no later than ten (10)
business days, excluding weekends and holidays, after the entry of Order
and Judgment.

6.4. lnsurers’ Rights With Respect to Termination and Withdrawal

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6.4.1. Chartis shall have the unilateral right, independent of Banner and in its
individual and sole discretion, to terminate the Settlement upon notice to
the Court no later than ten (10) business days, excluding Weekends and
holidays, after the resolution of all objections through a proposed Order
and Judgment, so as to allow Chartis an opportunity to consider the
interests of Banner in light of any modifications made to the Settlement.

6.4.2. FCCl and Maryland each shall have the unilateral right, independent of
Banner and in the individual and sole discretion of each insurer, to
withdraw from the Settlement upon notice to the Court no later than ten
(10) business days, excluding weekends and holidays, after the entry of
Order and Judgment.

7. Ob]'ections

7.1. Any Class Member who makes an objection to certification of the Class and/or to
approval of this Settlement, any terms hereof, or the approval process must make
that objection by the following procedure:

7.1.1. The objection must be in writing;

7.1.2. The objection must set forth all objections and the reasons therefore, and a
statement whether the Class Member intends to appear at the Fairness
Hearing either with or without separate counsel. The objection must
identify any witnesses intended to be called, the subject area of the
witnesses’ testimony, and all documents to be used or offered into
evidence, at the Faimess Hearing;

7.1.3. The objection must be signed by the Class Member and his/her/its
counsel;

7.1.4. The objection must contain the caption of the Litigation and include the
name, mailing address, e-mail address, if any (an e-mail address is not
required), and telephone number of the Class Member; and

7.1.5. The objection must be mailed to Lead Counsel, Arnold Levin (Levin,
Fishbein, Sedran & Berman, 510 Walnut Street, Suite 500, Philadelphia,
PA 19106), counsel for all Banner entities except Banner PSL, Todd R.
Ehrenreich (Weinberg Wheeler Hudgins Gunn & Dial, 2601 South
Bayshore Drive, Suite 1500, Miami, FL 33133), and counsel for all
Banner entities, Michael P. Peterson (Peterson & Espino, P.A. 10631 S.W.
88th Street, Suite 220, Miami, FL 33186) and postmarked no later than
sixty (60) days after close of the Class Settlement Notice Period.

7.2. Arnold Levin, Todd R. Ehrenreich, and Michael P. Peterson shall be obliged to
file any objections with the Court no later than seventy (70) days after close of the
Class Settlement Notice Period.

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7.3. Failure to comply timely and fully with these procedures shall result in the
invalidity and dismissal of any objection. Class Members who fail to file and
serve timely written objections in accordance with Section 7.1 shall be deemed to
have waived any objections, shall not be heard at the Fairness Hearing, and shall
be foreclosed from making any objection (whether by appeal or otherwise) to the
Settlement,

7.4. The PSC and the Settling Defendants shall file any response to the objections with
the Court no later than five (5) days before the date of the Faimess Hearing

8. Fairness Hearing

8.1. Seventy (70) days after close of the Class Settlement Notice Period, the Parties
shall jointly move for final approval of the Settlement and final certification of the
Class.

8.1.1. As part of that motion, the Parties shall:

8.1.1.1. Move to Court to enjoin and forever bar any and all Class
Members, including, but not limited to, those who have not
properly opted out of the Class, from maintaining, continuing,
prosecuting, and/or commencing the Litigation, Related Actions,
Related Claims, or any action, pending or future, against the
Settling Defendants that arises from, concems, or otherwise
relates, directly or indirectly, to Chinese Drywall;

8.1.1.2. Jointly submit to the Court a proposed order dismissing with
prejudice all claims and actions against the Settling Defendants
in the Eastern District of Louisiana and all other Related Actions
in state court, federal court or in any arbitral forum.

8.1.1.3. Move for an Order that will preserve the Settling Defendants’
claims, including claims for contribution, indemnification, and
subrogation, against third parties.

8.1.2. The Settling Defendants shall have the right to Withdraw from the
proposed Settlement if the Court does not issue all of the requested orders
and/or injunctions.

8.2. No earlier than one hundred and five (105) days after the close of the Class
Settlement Notice Period7 the Court shall hold a Faimess Hearing.

8.3. At the Fairness Hearing the Court shall, inter alia, (i) consider any properly filed
objections to the Settlement, (ii) determine whether the Settlement is fair,
reasonable, and adequate, was entered into in good faith and without collusion,
and should be approved, (iii) provide findings in connection therewith, and (iv)
enter a proposed Order and Judgment. The Order and Judgment shall be entered
by the Court ten (10) days after the issuance of the proposed Order and Judgment,

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so long as Chartis has not exercised its right to terminate pursuant to Section
6.4.1.

8.4. Within thirty (30) days of the Effective Date, the PSC shall file motions to
dismiss with prejudice all Related Actions by Class Members whom they
represent which are pending in any court, but only to the extent that they assert
claims against the Settling Defendants, and the PSC will use its best efforts to
assist the Settling Defendants in obtaining dismissal with prejudice of any other
Related Actions maintained by any Class Member, but only to the extent that they
assert claims against the Settling Defendants, whether in state court, federal court
or any arbitral forum.

9. Order and Judgment

9.1. The “Order and Judgment” shall mean the final order and judgment entered by the
Court following the Fairness Hearing, and must:

9.1.1. Certify the Class pursuant to Fed. R. Civ. P. 23(b)(3);

9.1.2. Find that the Settlement is fair, reasonable, and adequate; find that the
Settlement was entered into in good faith and without collusion; find the
Settlement represents a negotiated agreement; and approve the Settlement;

9.1.3. lssue the Orders identified in Section 8.1.1;

9.1.3.1. This provision shall not prevent or impede the enforcement of
claims or entitlement to benefits under this Settlement.

9.1.4. Approve the releases attached in Exhibits D, E(l), E(2), E(3), F, and G;

9.1.5. Enter the findings of fact and conclusions of law proposed in Section 15 .4;
and

9.1.6. Find that pursuant to Fed. R. Civ. P. 54(b), there is no just reason for delay
of entry of final judgment with respect to the foregoing

9.2. If such a permanent injunction and bar order against claims as required by Section
9.1 is not granted, or is overtumed, then the Settling Defendants will have the
right to terminate the Settlement.

10. Deposits

10.1. The Parties shall agree and execute an agreement (the “Escrow Agreement”)
establishing an escrow account (the “Escrow Account”) at U.S. Bank.

10.2. Each lnsurer shall transfer its share of the lnsurance Proceeds to the Escrow
Account as follows:

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10.2.1. 25 % of lnsurance Proceeds to be tendered within thirty (30) days of the
issuance of the Preliminary Approval Order;

10.2.2. 25 % of lnsurance Proceeds to be tendered within thirty (30) days of the
date of the entry of Order and Judgment; and

10.2.3. 50 % of lnsurance Proceeds to be tendered within thirty (30) days of the
Effective Date.

10.3. "Settlement Funds" shall mean the lnsurance Proceeds as transferred pursuant to
this Section.

10.4. Chartis shall be solely responsible for transferring the remaining proceeds. if any,
of the Hanover policies.

10.5. No interest shall accrue, whether before or after the entry of the Order and Final
Judgment, on any portion of the lnsurance Proceeds not deposited in the Escrow
Account. Any interest that accrues in the Escrow Account shall be deemed part
of the Settlement Funds. Any taxes, fees, and/or costs resulting from the accrual
of interest shall be paid in accordance with the Escrow Agreement, and shall not
be the responsibility of the Settling Defendants.

10.6. If the Settlement is terminated or, if for any other reason, the Parties fail to
finalize the Settlement, the lnsurance Proceeds deposited by Chartis (including
the proceeds of the Hanover policies) shall be returned to Chartis with
accumulated interest within ten (10) business days, excluding weekends and
holidays.

10.7. If the Settlement is terminated or if, for any other reason, the Parties fail to
finalize the Settlement, the lnsurance Proceeds deposited by FCCl and Maryland
Casualty shall be returned to FCCl and Maryland Casualty with accumulated
interest within ten (10) business days, excluding weekends and holidays.

11. Terminz_\ti_on of This Settlement

11.1. This Settlement shall be terminated and cancelled upon any of the following
events:

11.1.1. The Court declines to enter the Preliminary Approval Order;
11.1.2. The Fairness Hearing is not held by the Couit;

11.1.3. The Order and Judgment is not entered by the Court, or is reversed by a
higher court; or

11.1.4. The Court declines to dismiss the Settling Defendants.

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11.2. The Settling Defendants may, at their sole and exclusive discretion and option,
withdraw from and cancel their obligations under this Settlement upon any of the
following events:

11.2.1. The Class Settlement Notice does not comply with the Order of the Court;
11.2.2. Banner exercises its rights pursuant to Section 6.3;
11.2.3. FCCI or Maryland Casualty exercises its rights pursuant to Section 6.4;

11.2.4. The PSC, on behalf of the Class, materially breaches the Settlement and
such breach materially frustrates the purposes of this agreement;

11.2.5. The Related Actions against the Settling Defendants are not dismissed
with prejudice;

11.2.6. An injunction permanently barring and preventing each and every Class
Member, including, but not limited to, those who have not properly opted
out of the Class, from bringing any subsequent claims or causes of action
in law or equity that arise from or are related to, directly or indirectly,
Chinese Drywall, the Litigation, the Related Actions, and/or any Released
Claims is not entered by the Court in the Order and Judgment. Such
injunction shall not prevent any of the Settling Defendants from
monitoring or participating in the Litigation, at their discretion, so as to
protect their rights before the Settlement is Final;

11.2.7. This Settlement is changed in any material respect, except by written
consent of the Parties.

12. Severability

12.1. lf Maryland Casualty chooses to withdraw from the Settlement in accordance
with Sections 6.4 or 11.2, all remaining provisions of this Settlement, except
Section'l. ll which will be amended to exclude Maryland Casualty’s contribution,
shall otherwise remain in full force and effect and be construed as if such portion
or portions had not been included herein, and the PSC shall accept an assignment
of all claims from Banner against Maryland Casualty. '

12.2. If FCCI chooses to withdrawn from the Settlement in accordance with Sections
6.4 or 11.2, all remaining provisions of the Settlement, except Section 1.11 which
will be amended to exclude FCCI’s contribution, shall otherwise remain in full
force and effect and be construed as if such portion or portions had not been
included herein, and the PSC shall accept an assignment of all claims from
Banner against FCCI.

13. Court to Retain Jurisdiction to Implement and Enforce Settlement

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13.1. Notwithstanding any other provision of this Settlement, the Court shall retain
continuing jurisdiction over the Litigation, the Class, the Class Members, and the
Settlement for the purposes of administering supervising, construing and
enforcing same, and also continuing and exclusive jurisdiction over the
Settlement Funds and the distribution of same to Class Members. This Section
shall not be construed as a fmding, admission, or consent that the Court or
Louisiana has general or specific personal jurisdiction over FCCl or Hanover.

14. Allocation of Payments

14.1. The Court shall establish a procedure for allocation of the Settlement Funds
between the various interests who have claimed entitlement to the same. Towards
this end, the PSC will recommend that the Court appoint a Special Master to
assist the Court in the allocation process. The Court shall entertain interventions
for the purpose of determining the allocation and shall establish procedures by
order setting forth the manner in which this allocation shall proceed. The
allocation by the Special Master may be appealed solely to Judge Fallon, whose
decision shall be final

14.2. The Parties agree to comply with the provisions of Section lll of the Medicare,
Medicaid & SCHlP Extension Act of 2007 (“MMSEA”), as codified in 42 U.S.C.
Sec. 1395y(b)(8).

14.2.1. This Settlement is based upon a good faith determination of the Parties to
resolve a disputed claim in which certain Plaintiffs have alleged bodily
injury, The Settling Defendants deny that there is any evidence of bodily
injury arising from or related to Chinese Drywall. Requests for
compensation related to bodily injury Will be considered by the Special
Master, who will have the authority to allocate Settlement Funds towards
such injury claims. Any funds so allocated by the Special Masters as part
of the procedure set forth in Section 14.1 above will be paid directly to the
Class Members.

14.2.2. Each Class Member who receives in excess of the MMSEA dollar
threshold in effect at the time the Settlement is Final from the Settlement
Funds (“Excess Recipient”) acknowledges his/her duty to cooperate with
the Settling Defendants in order to permit Responsible Reporting
Entity(ies), as defined by MMSEA, to fulfill their reporting obligations to
comply with MMSEA. Each Excess Recipient and his/her attorney agrees
to provide the Responsible Reporting Entity(ies) with any and all
information necessary for the Responsible Reporting Entity(ies) to comply
with MMSEA, including his or her identity, date of birth, social security
number, and gender, so as to allow the lnsurers, or their agents, to
determine whether the Excess Recipient is a Medicare Beneficiary, as
defined by MMSEA (a “Tiiggering Claimant”).

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14.2.3. Each Triggering Claimant and his/her attorney shall provide any

additional information requested by the Responsible Reporting Entity(ies)

. to comply with MMSEA, including the identity of his/her attorney, his/her

address, his/her lCD9 number (if applicable), and information related to

the injuries allegedly arising from Chinese Drywall, Such information

may be reported to the Centers for Medicare & Medicaid Services (CMS),

as well as certain agent(s) necessary to facilitate reporting to CMS,

pursuant to the responsible reporting entity’s duty to comply with
MMSEA.

14.2.4. Each Triggering Claimant represents and warrants that all bills, costs or
liens resulting from or arising out of alleged injuries, claims or lawsuits
related to Chinese Drywall are his/her responsibility to pay, including all
Medicare conditional payments, subrogation claims, liens, or other rights
to payment, relating to medical treatment or lost wages that have been or
may be asserted by any health care provider, insurer, governmental entity,
employer or other person or entity. Further, each Triggering Claimant will
indemnify, defend and hold each Settling Defendant harmless from any
and all damages, claims and rights to payment, including any attorneys’
fees, brought by any person, entity or governmental agency to recover any
of these amounts.

14.2.5. The procedures set forth in this Section 14.2 are intended to ensure
compliance with 42 U.S.C. § 1395y. The Parties resolved this matter in
compliance with both state and federal law.

14.3. Banner agrees to cooperate with reasonable requests for documents related to
continuing litigation against the manufacturers of Chinese Drywall,

14.4. Any disputes as to the allocation of payments among Class Members will not
defeat the Settlement and shall not involve the Settling Defendants except as
provided for in Section 14.2 and 14.3.

14.5. All costs of administering the allocation of Settlement Funds and the cost of
notice to Class Members will be paid out of the Settlement Funds.

14.6. Notwithstanding any other provision of this Settlement or of any other document,
the Settling Defendants shall not be liable for, and shall have no responsibility
whatsoever for any payment of, any Class Counsel’s attomeys’ fees, costs, and
expenses, whether at the trial, appellate or administrative level, Class Member’s
attorneys’ fees, costs, and expenses, whether at the trial, appellate or
administrative level, Mediator’s fees and costs, court costs, Notice Costs, the fees
and costs of any person or entity retained by the Mediator, and/or all other costs
and fees associated with this Litigation, the Related Actions,_ the approval and/or
implementation of this Settlement, the administration of claims, and/or the
disposition of the Settlement Funds. Notwithstanding the provisions of this

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Settlement or of any other document, the Settling Defendants shall have no
obligation to pay any amount beyond the lnsurance Proceeds.

14.7. After the Effective Date, the PSC, common benefit attorneys, and privately
retained attorneys for all Class Members (the “Petitioning Attomeys”) shall be
entitled to petition the Court for attorneys’ fees up to 32% of the Settlement Funds
and reimbursement of reasonable expenses, including the cost of notice. 'l`he
allocation of attorneys’ fees between and amongst the Petitioning Attorneys shall
be determined by the Court. The Petitioning Attorneys shall petition the Court for
a fee of 10 % from those entities who recover from the Settlement Funds and are
not represented by the PSC and Who have private counsel and who have actively
pursued this Litigation, Provided that such petition does not seek fees exceeding
32 % of the Settlement Funds, the Settling Defendants agree not to participate in
the determination of either the appropriate determination of fees or reimbursement
of reasonable expenses

15. Miscellaneous

15 .1. The Parties and their attorneys and agents shall not attempt to use the payments
made pursuant to this Settlement or the terms hereof to argue in any other
proceeding that there is insurance coverage for Chinese Drywall claims.

15.2. The Settling Defendants do not admit or concede any liability or damages
whatsoever relating to Chinese Drywall.

15.3. Chartis, FCCI, Hanover, and Maryland Casualty do not admit or concede any
liability or insurance coverage obligation for any claims relating to Chinese

Drywall,

15 .4. As part of the Order and Judgment, the Court will be requested to enter findings
of fact and conclusions of law stating that:

15.4.1. Other than to enforce any term of the Settlement, no person or entity may
use or refer to any aspect of this Settlement in any litigation in which any
lnsurer is a party.

15.4.2. The Settlement shall not constitute a waiver of any coverage defense or
position taken by any lnsurer related to Chinese Drywall and no lnsurer
shall be estopped from raising any coverage issue or defense by reason of
the Settlement.

15.4.3. Florida law shall govern the interpretation of all lnsurers’ policies issued
to Banner. By entering this Settlement, each lnsurer has acted in good
faith and fairly, reasonably, and honestly towards Banner and any actual
and/or potential class members and with due regard for Banner and any
potential Class Members’ interests regarding Chinese Drywall.

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15.4.4. The Settlement by the lnsurers7 being in good faith, upon the Settlement
becoming Final, precludes Banner and any actual and/or potential Class
Member from asserting a bad faith claim against any lnsurer.

15.4.5. FCCI takes the position that because FCCI’s principal place of business is
in Florida, the policies were delivered to Banner in Florida, and Banner
only supplied Chinese Drywall for use in homes and buildings in Florida,
the only FCCl policy issued to Banner that is triggered by claims related
in any way to Chinese Drywall is the 2006-2007 policy, policy numbers
GL0004593-1 and UMB0004524-l. The PSC will not object to FCCI’s
submission of such proposed findings of fact.

15.4.6. Maryland Casualty takes the position that the only Maryland Casualty
policy issued to Banner that is triggered by claims related in any way to
Chinese Drywall is the 2005-2006 policy, policy number PPS 42534587-
02. The PSC will not object to Maryland Casualty’s submission of such
proposed findings of fact.

15.4.7. Chartis takes the position that the only Chartis policies issued to Banner
that are triggered by claims related in any way to Chinese Drywall are the
policies BE 9300273, BE 8688025, BE 5543482, and 7606364. The PSC
will not object to Chartis’ submission of such proposed findings of fact.

15.5. lf the last day of any period mentioned in this Settlement falls on a weekend or
legal holiday, the period shall include the next business day.

16. Personal Jurisdiction as to FCCI and Hanover

16.1. FCCI and Hanover do not consent or admit that they are subject to general or
specific personal jurisdiction in Louisiana for any claims or cases currently
pending or that may be brought in the future, including the Litigation and Related
Claims,

16.2. The participation of FCCI and Hanover in this Settlement, including any actions,
representations, statements, or positions they have taken or may take in the future
in any Way related to this Settlement, including any actions to enforce the
Settlement, shall not be construed as a consent to general or specific personal
jurisdiction in any court ~ state or federal ~ in Louisiana, including, but not
limited to, in the Litigation, Related Claims, and any cases currently pending in,
or that may be filed in or transferred to, the Court.

16.3. Neither any Counsel, Settling Defendant, Class Member, nor member of the PSC
may argue orally or in writing that either FCCI or Hanover has consented to
general or specific personal jurisdiction in Louisiana through FCCI’ s or
Hanover’ s participation in this Settlement.

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16.4. Nothing in this Settlement, nor any documents filed in connection with it, shall
subject either FCCI or Hanover to general or specific personal jurisdiction in any
court - state or federal - in Louisiana.

16.5. The Parties and the PSC agree that in every preliminary, conditional, final or
other Order related to this Settlement, the Court shall be asked to include a
paragraph indicating that “by participation in this Settlement, FCCl and Hanover
have not consented to general or specific personal jurisdiction in Louisiana and
are not precluded from challenging general or specific personal jurisdiction over
them in Louisiana in any cases currently pending or that may be filed in the
future, including, but not limited to, cases currently pending in, or that may be
assigned to, filed in, or transferred to this Court.”

16.6. ln the event of an intentional or unintentional violation this Section, the Parties
and the PSC shall join in FCCI’s and/or Hanover’s request that the Court enter an
order enjoining any Party and/or the PSC from arguing that FCCI and/or Hanover
has consented to general or specific jurisdiction in Louisiana through its
participation in this Settlement.

17. Federal Rule of Evidence 408

17.1. The Parties specifically acknowledge, agree and admit that this Settlement and its
exhibits, along with all related drafts, motions, pleadings, conversations,
negotiations and correspondence, shall be considered a compromise within the
meaning of Florida Rule of Evidence 90.408, F ederal Rules of Evidence Rule
408, and any equivalent rule of evidence of any state, and shall not (i) constitute,
be construed, be offered, or received into evidence as an admission of the validity
of any claim or defense, or the truth of any fact alleged or other allegation in the
Litigation, the Related Actions, or in any other pending or subsequently filed
action, or of any wrongdoing, fault, violation of law, or liability of any kind on
the part of any Party, or (ii) be used to establish a waiver of any defense or right,
or to establish or contest jurisdiction or venue.

17.2. The Parties also agree that this Settlement, any orders, pleadings or other
documents entered in furtherance of this Settlement, and any acts in the
performance of this Settlement are not intended to be, nor shall they in fact be,
admissible, discoverable, or relevant in any case or other proceeding against the
Settling Defendants to establish grounds for certification of any class involving
any Class Member, against the Settling Defendants to prove either the acceptance
by any Party hereto of any particular theory of coverage, or as evidence of any
obligation that any Party hereto has or may have to anyone.

17.3. The provisions of this Settlement, and any orders, pleadings or other documents
entered in furtherance of this Settlement, may be offered or received in evidence
solely (i) to enforce the terms and provisions hereof or-thereof, (ii) as may be
specifically authorized by a court of competent jurisdiction after contradictory
hearing upon application of a Party hereto, (iii) in order to establish payment, or

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an affirmative defense of exception in a subsequent case, including res judicata,
(iv) in connection with any motion to enjoin or stay any of the Related Actions,
(v) to obtain Court approval of the Settlement, (vi) for use by any Settling
Defendant in any subsequent litigation involving the Banner lnsurance Policies;
or (vii) to comply with Banner’s lnsurers’ reporting requirements pursuant to
Section 111 of the MMSEA.

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lN WITNESS WHEREOF, the Parties have read and understood the terms and conditions
of this Settlement, agree to be bound by all of its provisions, and have executed this Settlement
on the date shown by their signatures below.

BANNER SUPPLY COMPANY

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BANNER SUPPLY COMPANY

    
    
 
 

 

  

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CHARTIS CLAIMS, INC. on behalf of
CHARTIS SPECIALTY INSURANCE
COMPANY f/k/a American International
Specialty Lines lnsurance Company,
ILLINOIS NATIONAL INSURANCE CO.,
NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA., AND
COMMERCE & INDUSTRY INSURANCE
CO.

    
 

 

 

efficia McMahon
V ce-President, Chartis Claims, Inc.

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STATE OF NEW YORK

COUNTY OF NEW YORK

BEFORE ME, the undersigned authority, personally came and appeared
PATRICIA MCMAHON

who, being duly sworn, stated on her oath and in the presence of the undersigned witnesses that
she is Vice-President of Chartis Claims, Inc. and she was authorized to and did execute the

foregoing instrument in such capacity for the said corporation, as its free act and deed.

IN WITNESS WHEREOF, the said Appearer has executed this acknowledgement in my
presence and in the presence of the undersigned competent witnesses on this lOth day of June,

2011.

 

 

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who, being duly sworn, stated on his/her oath and in the presence of the undersigned witnesses

that s/he is M/ J/IFF'M-r of Hanover md}/he was authorized to and did execute the
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foregoing instrument in such mpacity for the said eorporation, as its ti'ee act and deod.

I'N WlT‘NESS WHEREOF. the said Appearer has executed this acknowledgment in my

presence and in the presence of the imdersigned competent witnesses on this Z@'dey of

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HANOVER AMERICAN INSURANCE
COMPANY and HANOVER INSURANCE

 

 

 

 

 

 

 

 

GROUP, INC.
By:
Authorized Representative
Print Name:
Witness Signature Witness Signature
Printed Name Printed Name
Date Date

FCCl INSURANCE COMPANY, FCC[
COMMERCIAL INSURANCE COMPANY,
NATIONAL TRUST INSURANCE
COMPANY, FCCl MUTUAL lNSURANCE
HOLDING COMPANY, FCCI GROUP,
INC., FCCI INSURANCE GROUP, INC.,
MONROE GUARANTY lNSURANCE v
COMPANY, FCCI SERVlCES, INC., FCC[
ADVANTAGE INSURANCE COMPANY,
BRIERFIE D lNSURAN E COMPANY,
and FCCi G ‘ ,l

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COMMERCIAL INSURANCE COMPANY,
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COMPANY, FCCI MUTUAL INSURANCE
HOLDING COMPANY, FCCI GROUP,
INC., FCCI INSURANCE GROUP, INC.,
MONROE GUARANTY INSURANCE
COMPANY, FCCI SERVICES, INC., FCCI
ADVANTAGE INSURANCE COMPANY,
BRIERFIELD INSURANCE COMPANY,
and FCCI AGENCY, INC.

By:

 

Authorized Representative

Print Name:

 

 

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MARYLAND CASUALTY COMPANY and
ALL COMPANIES IN THE ZURICH
NORTH AMERICA GROUP OF
INSURANCE COMPANIES

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Case 2:09-md-02047-EEF-.]CW Document 9558-2 Filed 06/15/11 Page 36 of 78

STATE OF

COUNTY OF

BEFORE ME, the undersigned authority, personally came and appeared
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who, being duly sworn, stated on his/her oath and in the presence of the undersigned witnesses

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that s/he is WB‘; of Maryland Casualty and s/he was authorized to and did

execute the foregoing instrument in such capacity for the said corporation, as its free act and

deed.

lN WITNESS WHEREOF, the said Appearer has executed this acknowledgement in my

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presence and in the presence of the undersigned competent witnesses on this /f? dayr of

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PLAINT LIAISON COUNSEL

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PLAINTIFFS’ LEAD COUNSEL AND
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By:

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Case 2:09-md-02047-EEF-.]CW Document 9558-2 Filed 06/15/11 Page 38 of 78

STATE OF

COUNTY OF

BEFORE ME, the undersigned authority, personally came and appeared
RUSS HERMAN

who, being duly sworn, stated on his oath and in the presence of the undersigned witnesses that
he is Plaintiffs’ Liaison Counsel and he was authorized to and did execute the foregoing

instrument in such capacity for the said Committee, as its free act and deed.

IN WITNESS WHEREOF, the said Appearer has executed this acknowledgement in my

presence and in the presence of the undersigned competent witnesses on this ibthday of

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PLAINTIFFS’ LIAISON COUNSEL
By: d

 

 

Russ Herman "

Print Name:

 

 

 

 

 

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PLAINTIFFS ’_ LI~:AD co'uNsEL AND
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By: v
Arnold Levin

 

 

 

 

 

 

 

Printed Name
June 10, 2011

 

 

 

Date

PLAINTIFFS’ PROPOSED CLASS
COUNSEL

By:

 

 

 

 

 

Russ Herman

Print Name:

 

 

Witness Signature

 

 

Printed Name

 

Date

Case 2:09-md-02047-EEF-.]CW Document 9558-2 Filed 06/15/11 Page 40 of 78

STATE OF

COUNTY OF

BEFORE ME, the undersigned authority, personally came and appeared
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who, being duly sworn, stated on his oath and in the presence of the undersigned Witnesses that
he is a Plaintiffs’ Proposed Class Counsel and he Was authorized to and did execute the

foregoing instrument in such capacity for the said Committee, as its free act and deed.

lN WITNESS WHEREOF, the said Appearer has executed this acknowledgement in my

presence and in the presence of the undersigned competent witnesses on this lgmday of

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PLAINTIFFS’ P OPOSED CLA
COUNSEL

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Arnold Levin

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STATE OF

COUNTY OF

BEFORE ME, the undersigned authority, personally came and appeared

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who, being duly sworn, stated on his oath and in the presence of the undersigned witnesses that
he is a Plaintiffs’ Proposed Class Counsel and he was authorized to and did execute the

foregoing instrument in such capacity for the said Committee, as its nee act and deed.

IN WITNESS WHEREOF, the said Appearer has executed this acknowledgement in my

 

 

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Case 2:09-md-02047-EEF-.]CW Document 9558-2 Filed 06/15/11 Page 43 of 78

 

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Fred S. Longe`r

 

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June lO, 2011

 

Date

 

Witness Signature

 

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PLAINTIFFS’ FRCPOSED CLASS
COUNSEL

By:
Arnold Levin

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Armemarie Sween'ey
Printed Name
June 10, 2011

 

 

Date

PLAINTIFFS’ PROPOSED CLASS
COUNSEL

By:

 

Ervin Gonznlez

Pn'nt Name:

 

 

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Case 2:09-md-02047-EEF-.]CW Document 9558-2 Filed 06/15/11 Page 44 of 78

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COUNTY 0 1, PHILADELPHIA

BEFORE ME, the undersigned autliority, personally carrie and appeared
ARNOLD LEVIN

who, being duly swom, stated on his/her oath and in the presence of the undersigned witnesses
that s/lie is Plaintiffs’ Lead Counsel and a Member of Plaintiffs’ Steering Cammittec and s/he
was authorized to and did execute the foregoing instrument in such capacity for the said

Commitice, as its free act and deed_

IN WITNESS WHEREOF, the said Appearer has executed this acknowledgement in my

presence and in the presence of the undersigned competent witnesses on this 10thday of

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June , 201 i.

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__/ " Arnold Levin

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Annemarie Sweeney

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Debbie Anne Murphy, Notary Pub|lc
City of Ph||adeiphla, Phl|adetphla County
My Commiss|on Explres Jan. 27, 2014

Member, Pennsv|vanla Associat|on of Notarles

 

 

 

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PLAINTIFFS’ PROPOSED CLASS

 

 

 

 

 

 

 

COUNSEL
By: -» ¢, A/?
Ervin Gonzalez
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Witness Signature Witness Signature
Printed Name Printed Name
Date Date

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EXHIBIT A

SCHEDULE OF CHARTIS POLICIES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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* This policy was cancelled.

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EXHIBIT B
SCHEDULE OF POLICIES ISSUED BY OTHER INSURERS

FCCl: FCCI lnsurance Company policies GL0004593-l and GL0004593-2; FCCI Commercial
lnsurance Company policies GL0004593-3, UMB0004524-1, UMB0004524-2, and
UMB0004524-3; and any other policy issued by FCCI.

MARYLAND CASUALTY: the general liability policy and any accompanying endorsements
issued by Maryland Casualty Company to Banner Supply Company Port St. Lucie, LLC with the
policy number PPS 42534587 and an effective date of August 28, 2005.

HANOVER: the general liability policies and any accompanying endorsements issued by
Hanover with the policy numbers ZZJ 8740164 00 (effective dates January l, 2006 to January l,
2007), ZZJ 8740164 02 (effective dates January 1, 2007 to January 1, 2008)7 and ZZJ 8740164-
03 (effective dates January 1, 2008 to January 1, 2009).

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vwooo->©-mon~

mvhcohh ho hogth o=th>h .O.Q .m.D

sh< h.m .Dhim .OO Zhh.Z<hhL Dm<©mvhmhim<mh hD<th .> .m< h.m mem<

 

wmm~oo-<©-oh

§§o §§ e§oo ann seen

ih< him mmUh>vhmm mm>him <thh©mh .> :m< him Hmmmm<

 

N@N@vom

EG.:O 55 becon w§zocm swtohh

mmh>hOhh mthMmhiZmU .> OZ<muh<

 

ovmw ho-<U..mooN

§§o §§ eser §§ §§ e§§n

ih< him .UZh <DEOmh hhh.DOm hO mm<>>>mnh him<OU Z<mUO
.> hm hDOMO hith>th1hm>mm mvh<© mh.hhL Zhvthh-mmmZ<mm<

 

void h o-<O-ooom

§§o §§ esso 8an §§ 885

ih< him .UZh m©ZhnhmOhh M<h.mEHMOZ .> Dmh>mwh<

 

Nv-<O-Nmomoo-o h on

§§o § e esso 85-§§2 §§a

ih< him .OO >mh,th mmzz<m .> %vhmmm<

 

Nv-<U-h.mommo-moo~

§§o e: esso 85-§§2 §§n

.m< him .hmOU M<szm .> m§<nh<

 

Nv-<U-vamNo-mooN

§§o e: esso 85-§§2 §§n

:m< him .LMOO M<szm .> .m< h.m <ZDO<

 

 

 

hmwhoo<©oho~ 2585 show bc:oU mom m©tohh <Dhm©mh hhhiDOm hO wmh>hOh.h meZ<E .> ih< him <h.mOU<
mmmoo->©-h hmw m=mhmhsom ho combth Emem .O.nh .m.D Hh<hh©mmmmmm©mOZDhim<>>Mm> hD<th memDmmmO .> mDmm<
mowmmo-oo ::Q.:O 55 hacon ocm>>ocm amici @vh mhh© hD<th .> mh>h<mm<

 

oom: o-<U-mooN

§§o §§ esso 5an §§ nasa

ih< him .UZh m©ZthOhh
Mh<himh.hhimOZ .> Z<><m<ZOmD nw mmhhhmmmz EOthh<hhm<

 

owooo->U-h hmw

m:mhmh:o\h ho 65th EBmsm .O.D .m.D

.OO h>thh>U Z<hhmh<hi .> mmm<

 

gm h ooUO©ooN

§§o §§ e§oo 203 nw e§§n

;m< him >mthm MmZZ<m ZOmth .> mozthth h-<

 

 

Mmmh>h.DZ mm<U

 

ZOhh.Uthh¢Dh.

 

mm<©

 

mZOhhiU< mmhi<mm~h hO mmDnhmthm

U hihmhh\th

 

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mmmmooi<©ioh

§§§o §§ b§§oo 8§ _§§§§

ih< him w~hmh>h<vhh DmthD .> .m< him mvhz<.m

 

Nh thoihiooN

§8§0 §§ b§§@o 85-§§§ §§§

Nm~vhmh .> >Z hO vhz<m

 

chimomoimoom

§3§0 §§ b§§@o 8§-§§2 §§§

G§§V
§izm§§§<§< zmn§<© <~EEH .> 658 m§m<@ §§oo mo §§

 

mmmooo<©>oom

§8§0 §§ §§oo 203 §m §§§

§§ §zm§z.§c§m>mn
Qz< zoFoDEmzoo mz§§<m§§ .> <o§m§< mo §§

 

@mmh moimoom

§§§o §§ §§§Oo §E-§§§ §§§

ZDmhih .> <Oh~hmh>h< hO th<m

 

 

 

m@himmimoom hh:o:U £hh SEEU ocsnhihEmhh\/h m©tohh MOhiUmI NmQZ<ZMmh .> <Oh¢m§< hO vhz<m
ohiohioo<©moom E._Q:U 52 banco 225 .hm mciohh Amh>hv w<><Z wOih~h<U .> <U-hmh>h< hO th<m
homomooom@<© 2385 55 SQ:QU Ea>>o§m amici ih< him Uihuh m©ZthOI v< .> <Ohyhmh>h< hO MZ<m

 

wa h ooi<Uioh

§§§o §§ b§§oo 8§ §§§

.ih< him .OZh mih<>>>¢nh § .> >mihh<m

 

Nvi<Oimmv>>oiooom

§§Q§o §§ §§Qo 85-§§§ §§§

ih< him Umwh <Mhmh>h~h mUZO.h .> >mm©<m

 

comoooihioom

§8§0 §§ b§§oo 8§@-§§§ §§§

h>hmuh‘.hmmh>h< .> .OZh me< ODZOU §hizm>< hi< hhiZm><

 

Nvi<Uih mm hwoiooom

§§§o §: § §§§o 85-§§§ §§§

mmh>hOI mmhi<himm h>hm<h hmhi~hOZ .> Ommm><

 

NNm@moi>ooN

§8§0 §§ b§§oo @§§Q-§§E §§§

NmMm.h .> AOm\C mU>m Z<Om <MOMD<

 

mm~w©oiwoo~

§§§o §§ b§§@o @§§Q-§§§ §§i§

00 >ihhAth MmZZ<m .> thD<

 

hm>w h oiwoom

§§Q§o §§ §§8 8§-§§§ §§§

.AEOU .m<OhhihO Z<Ohmm§< .> thD<

 

Nvi<Uih mm h moiooo~

§§§o §§ §§8 85-§§§ §§§

.ih< him ..hMOO M<szuh .> Z<hz<mm<

 

hvv©~oo

HE§U 55 SEEO E§>»o§m mccohh

ZOhmmD nw mozthth thO~h.mvh<O .> D<m<

 

m>goo
ioh oh mooo-oh

§§§o §§ §§Qo §§§m §§§

<DhMOmh EhiDOm hO mmh>h©hm Q~h<mz<him .> O>OMM<

 

Nvi<UiNNoio h ihh

§§§o §§ §§Qo 85-§§§ §§,§

.mi<. him .OZh i<mD hith>hhimm>Zh mmihm<© ih<him>vh© .> <mOhth<

 

Nvi<Oihimo h No-moo~

§3§0 §§ b§§@o @§§Q-§§§ §§§

.m< him Ovh mhh© hD<th .> O~hhmth>Uh<

 

cm <U thiv@ioh

§§§o §§ beam 85-§§§ §§§

.m< him mmh.<himm vhmmMO whme .> ih< him Ommh>$h<

 

owh hoci<Uioh

§B§o §§ esso 8§ §§§

.OZh ZOhiMOE .~h.nh .> m<h¢<

 

vwmoh-<©imo

§§§o §§ §§8 203 §m §§§

hith\/hh©mm>mm DZ< ZOhhiODMhimZOU himm>>mhh>h .> Ommm~h<

 

 

him <U mmh©oioo

 

§§§o §§ §§8 85-§§§§ §§§

 

.thOU OwD .> Oh.D<M<

 

 

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§vmooi<©ioo

§B§m §§ beam 8§ §ai

.ih< him .h~hOO mmh>hOhm MmN<mm .> ih< him ¢m>>mim

 

hmhio h oi<OimooN

§§a§m §§ beam §§m §§ §ai

.ih< him .OZh mmh>mOhm mthMmh.ZmU .> mm>>Om

 

vamooi<©imo

§§§m §§ beam §§ §ai

:m< him .iOU mmhzOE MmN<mm .> .m< him hvhw>>©thOm

 

mem h oo<O@ooN

§=a§m §§ beam §eam §§ §ai

.OZh
mh.th>hhiM<i< h>hDhZhhzODZOU himmiUZ<mUO .> :m< him MmOMOm

 

31 mooi<Uimo

§E§m §§ beam 8§ §ai

ih< iam
.UZh <Dhi©ui hihhiDOm iO mmh>hOhih meZ<hih .> ih< him hini<©im©m

 

Eihim h oi<OimooN

§B§m §§ beam §§m §§ §ai

ih< him .OZh mmh>hOE mZhAMmhiZmO .> MDmhmZOm

 

oca:oi<©iooom

§§§m §§ beam §§m §§ §ai

.ih< him .OZh mmh>hOhm mZhA~hmhiZmU .> D<mmmh©m

 

omemmoi<©iocom

§§§m §§ beam §eam §§ §ai

.im< him mm LDOMO
hith>iOihm>mD mvh<O mhmhi ZhviOm mmmZ<mm< .> ih< him h>hOOmm

 

mci ooi<UiohoN-©m

§§§m 203 §§

.i.h< him .UZh ZOhhiUDMhimZOU mmh>hOhm mZhuhMmhiZmO .> ZOOmmhm

 

oomomo<©@oo~

§§§m §§ beam 8c §ai

.ih< him mUh>imm
ZOhhiODvhhimZOU MmhmO<ihuh<O .> Uihm .OU m©<©hi©h>m vi<h>hmhm

 

wm$~ h oi<UioooN

§§a§m §§ beam §§m §§ §ai

.ih< him .Uzh mmh>hOhih mZhAmmhiZmO .> hihimzzmm

 

hhimmmoioh

2385 £h.h bich mia>>cim amici

.m< him Z<h>hihmnhm h.hhimZZth .> .m< him hihimZme

 

wmo:oioi

::ciO ii wicch mia>>c§m amici

.OU >ihiiDm MmZ,Z<m .> mihmm

 

mem h mi>Uioono

§a§a §§§c §§§am .m.c .m.c

Ovh mmh© iD<th .> §Oimm.m

 

Nmmooi>©ioo-

a§a§=a§ § a§c eii§§ .m.c .m.c

Ovh mih© iD<th .> MDOiihmm

 

wmh.voo<©o h oN

§§a§m §§ beam 8§ §§§

.m< him .UZh Z<h>hihmmhim <O .> Umm <Ahi©iiiwhmm

 

Nhi§\ooioh

§§§m §§ beam §§a§ §ai

<DiOmi hihhiDOm iO mthOI UihO<i DM<DZ<Hm .> hmmhvhi<m

 

Nai<©i>mmmooioho~

§§a§m §§ beam aaac-§a§ §§ai

.ih<
him Uihm hm ithMh<nh %<m >m mmvh<uh iO mmh>hOhih mDhMi .> Z<O§<m

 

mama m oi<OioooN

§B§m §§ beam §§m §§ §ai

.ih< him .UZh mmh>hOh.h mZhihMmhiZmU .> whnhZ<h>miZO~h<m

 

 

 

 

mmmooo<@moo~ :=§0 §§ bc:cU 225 am amici Aiiv mmmhvh,imhizm hiOm<hihU .> <hUi<m
ih<

i 502 icc msc._c m § a ic
Nwwcoo oh b. .U 52 b 0 m a :hih m. i him OUm .ihih<>>>yhm mmthhhih .> Uihih <.ihz<hi .OO >ih.ibm MmZZ<m
voca~o<©coo~ :=§O £m h banco §an Eiai amici <ih>~<hi OU >ihniDm z <m >

 

 

mmi DmhihZDth<m Ohi himm~hmhizh Zh iOmmmUUDm m< DmhihZDth<m

 

 

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max m oimoom

§_a§m §§ beam aaac-§§§ aaai

.th
mo>m Othh>hDii oh. .> .th mm<mm\h©h.h~§ ozhm§ii >MDh.Zmo

 

hhimcooi<oi:

§§§a §§ beam §§ §ai

omm muh<>>>.~hnh mmhz<~ .> hvhmimmhomo

 

mwmmooi<oimo

§§§a §§ beam ii§§ § e§ai

mmh>h©hm mZhihimhiZmo .> >mm<o

 

vam h oi<oio h on

§_a§m §§ beam §§ §§ §§ai

mMmQth D m h. .> ihihOMi<o

 

amc h ooi<oih mem

§§§m §§ beam §§ §m a§§ai

mmi .Oo >mniDm MmZZ<.m .> ><>><Mm<o

 

mma h ooi<o..mo

§§§m §§ beam §§ §ai

.ih< him Ovh miho iD<th .> ih< him Mi<o

 

mmmvmoihioo~

§§§m §§ beam a§§-§§§ §§§

nomihv mhith>hh.mm>Zh E<mm DZ<MO .> himDMhhi moDOo th>i<o

 

wmmvmoi\ioom

§§§m §§ beam §§-§a§ §ai

Aoimid mhiZmEhimm>Zh h>h<mm QZ<MO .> h.mDMhi moDOo th>i<o

 

mmhi@~oioc

ancao abi banco maa>>cam amici

ZOhhio< mw<mo ii iO mmh>mOE mo .> >m¢<o

 

mmmhmi>oimono

§§a§a §§§c §§§am .m.c .m.n

ovh miho iD<th .> >m~h<o

 

vmmmoi>oioo~m

aaa§ncih mc bci§nh a._Bmam .o.D .m.D

ovh miho iD<th .> >mi<o

 

 

 

mmm©ooioh ciincio atih banco maa>>cam amici <Di©mi EhiDOm iO mmh>hOE oiho<nh Di<nhz<him .> OZ<o
ammoooi<o-om incio EON banco ac:hco amici m< him .th .vh.h>m imvhihim >vhoDih .> mthM<o nnhihmih/h<o
wmwhimowomo<o incio ii banco maa>>cam amici omih .Oo hith>iOmm>mQ i<<>>mnhm .> .niOo 1hmmhim h>h<Z<o

 

mm <o mohimmioh

§B§m §§ beam aaac-§a§ §ai

.m< him mih,o iD<th .> .OZ<mOLh>h<o

 

Nmi<oih ammooio h cm

§§§m §§ beam a§§c-§§ §§a

.Oo >m»iDm MmZ.,Z<m .> O>m<o

 

 

 

 

moovmoioo inc.ao £hih banco maa>>camh amici LDOMO ,hith>iOihm>mD wvh<O mhmhi ZhviOi mmmz<mm< .> mth>m
ohim~hio-moo~ inc.ao iii banco mmanhiiaaai>m amici .Oo irmAiDm imZZ<m .> immhiDm
mo w>ooi: inc.ao 55 banco maa>>cam amici ih< him ADhiih .Oo Zhh.Z<hhio ni<OmMmhim<ii iD<th .> vhoOmmDm
mammoo<oohom mncao 52 banco chcnm am amici Amoo hh mmhhihZDh>=>mOo nhmhimmnhh>m©o .> vhoDm

 

immooi<oioo

§§§a §§ beam aa§§ § §§ai

.Oo >mnibm MmZZ<m .> ih< him hmoD<m§DMm

 

Nm-<oimmmooo-o h cm

§§§m §§ beam §§ §§ §ai

<Dh¢©ii iO hmhiDOw iO mmEOh.h oiho<nh QM<DZ<h.m .> Z>>Omm

 

oh mhioo<oooom

§§§m §§ beam §§ §§ §ai

ih< him mimhmhi©im MmhhiDOiho .> Z>>Oim

 

 

mohomi>oioih

 

§a§a §§§c ea§eam .m.c an

 

.Oo h>:ihmnh>o m<ZOhihi<Z .> Dvhozh~hm

 

 

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omc~ m o<owoom

§an a§ banco abcmaaaw amici

.th mmoh>yhmw ZOmh¢MOh>h MOA><hi .> ZOhihihi.hDo

 

mmmooi>oioo~w

amici ic amicith mhmmi>m .o.nh .m.D

.th mmoh>yhmm ZOmh~hiOh>m MOA><hi .> ZOhihihihDo

 

ah hmoi>oimonm

aaaiincim hc SEED aa£mam .o.D .m.D

.th mmoh>mmm ZOmiMOh>h thih><hi .> ZOhhihihDo

 

hom mooi<oioh

§B§m §§ beam 3a §ai

.ih< him mmh>hohih <DZ<M< .> ih< him E<L<DDDo

 

Nm..<oimmoh moimoom

§§§m §§ beam a§§c-§e§§ §ai

:m< him i¢Oo M<szm .> Oimmvho

 

mmmm h oioh

§§a§m §§ beam §ba§ §ai

<Qi©ui h.hhiDOm iO mMmDthm Mmhim<§ .> nioi>><vho

 

hmowmoiwoom

§B§m §: _ beam Q§aa-§§§ e§ai

Zm<h. .> .th mZ<Om mEOi mnhh>>>~hhiZDOo

 

Nvi<oivmmmooio h cm

§§§m §§ beam aaac-§a§ §ai

.m< him .Oo >im»ihihm imZZ<m .> <>OhimOo

 

Nvi<oiwmmh mo-coom

§§§m §§ beam §a-§§§ §ai

.im< him .niOo M<szih .> .ih< him mmhiMOo

 

Nvi<oih moh moi@oom

ea§m §§ beam §§-§§i§ _§§aa

.im< him .iOo M<szih .> MMOo

 

mhihio h oi<oimco~

§§a§m §§ beam §§ §§ §ai

.im< him .th mthQmOhih i<hiwihi~hoz .> ZhimiOo

 

Nai<oiovm h woi@oom

§§§m §: a beam §c-§§§ §ai

.ih< him ozhnh<ihi <h>mmMiDm <m .> mmEOOo

 

§§Eoi<oimoo~

§§§m §§ beam §§ §§ §ai

.ih< him .th mm§©h.h mZhihMmhiZmo .> mhiZOo

 

h>mooo<oo h cm

§§§m §§ beam §§ §ai

.th mmoh>¢mm ZOhhioDMhimZOo M>>h. .> iih< him mhiZOo

 

om>mooi<oioo

§§a§m §§ beam §§ §ai

.m< him mmh>hOhih <QZ<¢< .> >OMZOo

 

mmc h moi<oiooom

§§a§m §§ beam §§§ §§ §ai

th ><vhmmm hi< mmh>hOh.h mZhAMmhiZmo .> .ih< him ZmEOo

 

wommh o<oooom

§B§m §§ beam §§ §§ §ai

hmhhniho .> .th mo<ohii©h>hhhiho

 

Nmmmmo-<oiooom

ea§m §§ beam §§ §§ a§§ai

.im< him omim uh<ZOhhi<ZimhiZh >im.iDm MmZZ<m .> OZhEhoZ<ho

 

mmi<oi hmohwoiooom

§§§m §§ beam a§§c-§§ §ai

ih< him thD<vhhi <h>hmMiDm <ih .> Z<hhimihmo

 

>mmi h hmo<o

ea§m §§ beam §iia§ aaai

Ovh m.iho iD<th .> .m< him ZOhhi<ohhihm muh¢>>>yhm mwmzhhmo

 

mmhmmoiwoom

§§a§m §§ beam §c-§§§ e§ai

zcm§ .> §§ az§ mm<am >>mam

 

aid h oi<oiooom

§§§m §§ beam §§ §§ §ai

ih< him .th mthOI mZhuthmhiZ…mo .> <Zmihm> nw <mimio

 

m>mmwoimoom

§§a§m §§ beam aaac-§§§ §§i

z<aca .> Am§§c amz<zi m=>§ca mm<am

 

hoi<oi h mo moo-oho~

§§a§m §§ beam §a-§§§ §ai

m<§< .> Am§§m mmz<zi mica mm<am

 

 

ammoo->oiom nw

 

amici ic achith chmmi>h .o.m .m.D

 

.Oo >ih.ibm MmZZ<m .> .Oo moZ§mZh >hiih<homim mhhii<hmo

 

 

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mwoomo-ooow

§§m §§ beam §c-§§ §ai

N<hm .> .OU himDMhi m<ZOhhi<Z th<m mEUmhiDmD

 

§Nvmoiwoom

§§m §§ beam §c-§§z §ai

EUMDEOLD .> .OU himD~hhi ih<ZOhhi<Z th<m mIUmhiDmD

 

cwa m moiwoo~

§§m §§ beam §c-§§§ §ai

Nhhith .> .OU himDmhi ih<ZOhhi<Z vhz<m mEOmhiDmQ

 

Nmmmho-woom

§§m §§ beam §§-§§2 §ai

Oh>h<ih< <hUM<O .> .OU himDMhi m<ZOhhi<Z vhz<m mthmhiDmD

 

ovmh ho<OhiooN

§§m §§ beam §§ §§ §ai

.m< him mOD .> .OO himDMhi m<ZOhhi<Z th<m mEOmhiDmD

 

Nv-<UiE mm>o-ooom

§§m §§ beam §m-§e§>§ §§§

.ih< him Oihih <Mmh>hm mUZOnh .> .ih< him EUmhiDmD

 

mom: oi<O..mooN

§§m §§ beam §§ §§ §§§

:m< him .UZh m©ZhDihOhm M<himhmhiimOZ .> <mOmmD

 

cm inv h oi<UimooN

§a§m §§ beam §§ §§ §ai

ih< him .Ozh mmEOE mZhimhiZmU .> OOm~hOihmD

 

mo <U mvhmmioh

§§m §§ beam §c-§§§ §ai

ih< him .OO wkrti imZZ<m .> .ih< him ZOmmmD

 

Nvi<Ui h mNNmoioooN

§§m §§ beam §Q-§§>§ §§,§

ih< him .L¢OU M<ZZmuh .> :.h< him ZOmith

 

mmmmci>©iooum

§§ii_cih ic §ci§n_ §§QO .U.Q .m.D

.LMOU mEOE mhiithh .> Oihm<UmD

 

ommhwimouo

§ai ia §§E e@§eaw .m.o .m.:

.LMOU mEOE mhiithh .> Oihm<©mnh

 

mmmmoo <O omoN

§§m §§ beam 203 § §ai

ih< him .OO >iith MmZZ<m .> ih< him mmmh>h<©mnh

 

Nvi<Uimww h wo-oocm

§§m §§ beam §o-§e§>§ §ai

ih< him OZhQ<Mhi <m>hmMiDm <m .> MUmh.hO<me

 

Nvi<Uio©m h Noimocm

§§m §§ beam §Q-§§E §ai

ih< him .LMOO ZOhhiUDMhimZOU ihih<mzmvh hmhiDOm .> mZ<mD

 

hw h wooi<©imoo~-om

eam §§m §§ §

.m<
him .OZh ZOhhiUD~hhimZO© mmh>hOE mZhihMmhiZmO .> mOhiZ<m mOih mm

 

mow h Ni>Uioonh

§a§a §§§c §§§am .m.Q .m.m

Ovh Wth iD<th .> <Omh>h<© mm

 

omcvc->©-ocnm

§§E:cih mc §ci§nh §Bm§m .O.Q .m.D

Ovh mih© iD<th .> <Omh>h<© mm

 

mmmhmioono

§§Ea §§§Q e@§eaw .m.o .m.m

Ovh Wth iD<th .> .W><D

 

mmmmoi>U-oo~m

§§im§cih ic §ci§m_.m_ §c§~m .O.D .m.D

©vh mn=© ,mD<th .> >><D

 

Nvi<inowmmo-oooN

§§m §§ beam @§§-§§>§ §ai

OZh mZOhhiDuhOm mD<hihD<m .> <mih<m<nh

 

Nvi<©ihiwvomoiooom

§§m §§ beam §Q-§§>§ §ai

.OU >ih.ih.hm MmZZ<m .> <mih<m<m

 

hmmmhothO<U

E§§O ii inacch mi§>cim amici

.m< him .Ozh ZOhhiODihimZOU mmh>hOhm mZhimhiZmU .> OihmmiDU

 

 

o h vmoo<UoooN

 

§§§U §§ b=:cU cc§m§h>h amici

 

.im< him .UZh mmOh>Mmm ZOmh~hMOm/h MOuh><hi .> ZOhihi.hihDU

 

 

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mai<©imooh moimoo~

§§m §§ beam §c-§§ §ai

.ih< him ..hMOO M<szih .> .ih< him <D<Mhimm

 

>N\immoi<wiooom

§§m §§ beam §§ §§ §ai

ih< him Lih LDOMO HZmEhOmm>mD
mvh<O mihi ZhviO.m mmmZ<mm< .> .ih< him hN<vahmm

 

ovwvoo<©-h how

§§m §§ beam §§ §§ §ai

.OU >ih»iDm imzz<m
DZ< iOhiQ<MhiZOO ih<mmZmO mvh<¢nh mOMOmO .> :m< him E<Emm

 

i<OiohoN

§§m §§ beam 203 § §ai

.m< him .OU imith MmZZ<m .> Zh>.~hm

 

Nai<©iw~o h woimoo~

§§m §§ beam §o-§§>§ §ai

.ih< him OZhD<Mhi <h>hmmi©w <m .> thNihm

 

Nmmh hoi<Uio h on

§§m §§ beam §§ §§ §ai

hith>iOihm>mQ hihiOhmM<h\/m .> Zhvhuhm

 

wommoo-<©-mo

§§m §§ beam 03 §ai

ih< him muh<>>>~hmh mmh>h<h. .> .m< him mmhwim

 

mmi ooi<Uioho~imm

eam §§m 203 §

.ih< him .OZh ZOhhiODMhhimZOU mmh>hOhm mZhihMmhiZmO ..> mmi<>/Dm

 

hoi<Oi h >vvmoic h on

§§m §§ beam §n-§§>§ §ai

.cm §z=z<§ §<cm§m§<§ §c<z§ .> <E§<>§mm

 

Nv-<Oimwwh moiooom

§§m §§ beam §Q-§§>§ §ai

.ih< him ..h~hOO M<ZZmih .> <EM<><EOm

 

NNE§©Q-<U-Q©

§§m §§ beam §§ §ai

.ih< him .Uzh .OUUDhiw m nw m .> .OZh ZOhiMOhm vhnh

 

mmwo~oioh

§§m §§ beam §§§ §ai

.OO >m.iDm mmZZ<m .> <hMOD

 

mmwmmoioh

§§m §§ beam §aa§ §ai

:m< him Umih mm mi.h<DZ<ihih<hm him<m .> ih< him >vhmZhihOD

 

emma h oi<OioooN

§§m §§ beam §§ §§ §ai

:m< him .LMOO <Di©ii iO mmh>hOE m U .> O~ihihihnh

 

mmmm h oi<UimooN

§§m §§ beam §§ §§ §ai

ih< him .LMOU <Qi©mi iO mmh>hOhm m O .> .m< him OAihmihD

 

hmmhwioouo

amici mc §ci§mh 505st .U.D .m.D

Ovh mmh© iD<th .> Onihihihnh

 

hivmmoi>OioonN

aca§:cih mc §ci§m §m§am .U.Q .m.D

©vh mmh© hD<th .> Ohihihihnh

 

mhivm h oi<UioooN

§§m §§ beam §§ §§ §ai

ih< him .OZh mthOhm mZhihvhmhiZmU .> OUih<ihQ

 

ommhwi>@imonm

§§,§ ia §§§ ei.i§ea§i .m.n §.m

.LMOU mh>hOhm mhimD.i .> Oih¢<©hnh

 

Nv-<U-vow h moimoo~

§§m §§ beam §Q-§§z §ai

.ih< him .LMOO M<szih .> N<hnh

 

Nvi<Uimav h ih h

§§m §§ beam §c-§§z §ai

m< him ..UZh mmmnh©mm>mm ihDN< Oihuhhhim<© .> N<hnh

 

hi h mm h oi<OiocoN

§§m §§ beam §§ §§ §ai

ih< him .OZh mUZhnhihOhih M<hiwhihhiMOZ .> DZOh>h<hD

 

mmamvoiooo~

§§m §§ beam §§-§e§§ §ai

Am§§m m<m§<§ §§m§§<§
§§ <QEO§ :§o§ .> §§v§<§>§ §<i§<m §H<H§m §<m§ <§mm

 

 

mmhooo<©woo~

 

§§m §§ beam 203 § _§ai

 

ih>© m>>m~h© m>mhim .> th<m mthmhiDmD

 

 

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ommmo->O-oonN

s§§a§ ia a§§c §§§ .m.Q .m.c

.OZh mOZthOh.h vh<himhmh.mOZ .> mmhim©i

 

mmhim h o-<O-mooN

§§m §§ beam §§ §§ §ai

.ih< him .OZh mmh>hOh.h mthmmhiZmO .> mhimOi

 

 

 

 

 

himhimvo@ 2525 55 55500 m§a>>cim amici hith>iOihm>mD mhih.h©ih.h ZOm,hh>> .> mini
NWQNQQOOSQN :585 ibew 55505 mmih amici mih<imhi<h>h vahZi .> Oihih mhimmOZOO Xhh>h >D<WM anh:MMm@hM
mmc~ooo©hicc~ 2525 EQN b§co mmih amici .OU mmh.ihi him<OUiihD© .> Ui: mhimMOZOO §§ >Q<myihhMmhwhmm%…M
vwc~ccoohioc~ 2525 £om icc5cO mci amici him<OUiihDO .> Uihih mHmMUWMWWWhWWM~MM…VMhMWMM
hmo~oo©©hioo~ 2585 £o~ 555c0 §§ amici Oihih hith>iOihm>mD

him<OniihDO .> Omm mhimmOZOO Xhh>h >D<mvh <Dhm©mi

 

Nm-<©-mm mmco-o h cm

§§m §: § beam §c-§§ §ai

ih< him Omm hm whmOMh<~h .W<m arm mmvh<m iO mmh>h©h.h mDhMi .> mmmOmi

 

mmmvho-<©-ooo~

§§m §§ beam §§ §§ §ai

ih< him .UZh mOZhn:Oh.h Mh<himhihhiNhOZ .> Zhhiz<vhbmmh

 

hommmo-woom

ea§m §§ beam a§§-§a§ §ai

himO>> .> Mz<m m<him©<ui

 

ho-<U-vamNo-mooN

ea§m §§ beam §c-§§§ §§,§

ODmMmD©i .> th<m m<him@<mi

 

ho-<U-NNwomo-wooN

ea§m §§ beam §c-§e§§ §ai

§mm>w<<m .> §§ Mz<m ¢<ewm<§

 

934 h oi<O-oooN

§§m §§ beam §§ §§ §ai

:m< him .OZh mmh>hOhm mZh~mmmhiZmO .> Dm<MmONhihi

 

 

 

woovoo<©ohom :525 EON 55505 com amici :m< him .OO whith mmZZ<m .> ih< him mmhmOmi
Nv-<U-mhoh mciooo~ 2585 5: 55505 mmanh-h§ai>h amici ih< him .hmOO M<szm .> mmhmOmi
cmi ho-oh 2525 55 55505 mia>>c.§m amici <DhmOmi ThhiDOm iO mmh>hOhm UihU<Ah Dm<nhz<him .> N<mmmi

 

Nv-<U-omw h woimoom

§§m §§ beam §c-e§§>§ §ai

mmh>hOh.h mmhi<himm Em<h EhimOZ .> NmQZ<ZMmi

 

mooooo-<©-ohom

§=§m §§ beam §§ §§ §ai

Dhim mmm»m©imm>mnh mD<th>hONi .> Ummmzhmm

 

vohihioo-woo~

§§m §§ beam §c-§§e§ §ai

MDOhi<m .> Mhmnhmi

 

 

 

oowmoo<©ohom :50.§5 52 55505 mim:»h mm amici AUmC Omm mmi .OO >mhi©m MmZZ<m .> .OU mUZ<MDmZh hUUi
mmhhi~o-<©-ooo~ 2585 52 55505 icacm Ehah amici OZh mmhhihZDh>hh>hOO Othmmhim .> ZZ<h>h»hih<i
©vmwmoo :585 §§ bc:c© mia>>c§m amici UZh <Dhm©mi hmhiDOm iO mmmnhmh©m mmhim<h>h .> mvhm<i

 

 

movooo-©oom

 

ea§m §§ beam a§§-§e§§ §ai

 

UZh
mDZ<MO Z<mUO hi< mmUZmnhhmmm .> .UZh whim<>?rvhm m>hhiDUme

 

 

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mmwmoi>©-oo~m

acai§cih hc mci§n_ EBmam .U.nh .m.D

Ovh mih© iD<th .> thhimmuh©©

 

Nai<U-o h oh moiooo~

ea§m §§ beam §c-§a§ §ai

:m< him ..hthU M<szih .> him<hihmhm©©

 

mwvo~o-<©-moom

ea§m §§ beam §§ §§ §ai

:.h< him .,ih1h hDOMO ,hith>iOihm>mD
mvh<O mhmhi ZhviOAh mmmz<mm< .> :m< him DM<DQOO

 

hmmmvom

§§m §§ beam §§§ §ai

<nhhm©mi hmhiDOm iO mimmsth mmhim<h>h .> Z<h>hvh©hih©

 

himhimho-<©-ooo~

§B§m §§ beam §§ §§ §ai

ih< him .OZh mUZhDihOE m<himh.hhi~h©Z .> h>hD~hmih©

 

wmmm h o-<OioooN

ea§m §§ beam §§ §§ §ai

.ih< him .OZh mmh>hOhm mzhi.hmmhiZmU .> hhihimZZ<hO

 

 

 

 

v©©vmoioo 2585 £hih 55505 mia>>cim amici <Di©ui h.hhiDOw iO mimmsth mmhim<h>h .> ODm<DmmO
oo:§mo-oh 2585 55 55505 mia>>cim amici <Di©ui EhiDOm iO mMmAhwthm mmhiw<h>h .> himyh<§m©
ovomoc-<©-oo 2585 ibew 55505 cum amici .UZh mmh>hOhm <DZ<¢< .> hO<mmO
ohio~moimc 2585 55 55505 mia>>cim amici Ovh mih© iD<th .> OmDmmmeO

 

Na-<©..vwmomoiooom

§§m §§ beam §§-§§E §ai

:m< him ..thOO Nh<ZZmi.h .> <5¢<0

 

oo<Om h oooi:

ea§m §§ beam a§§-§a§ §ai

.m< him .thm .OU AZhh.Z<hhiV ni<©mmmhim<ii iD<th .> <5¢<©

 

Na-<©-h.mmh moimoo~

§§m §§ beam §5-§§ §ai

ih< him .,hMOU M<szm .> <5¢<5

 

omhioN->Oioonh

§ai§a a§e§c §a§eam .m.c .m.c

ih< him ..h~hOU M<ZZmi.h .> :m< him <hOm<©

 

wh hmoi>UimonN

a5a2w25cih hc mci§nh §Bmam .U.Q .m.D

ih< him .mmOU M<szm .> ih< him <hUM<O

 

hoth h oi<OimooN

§e§m §§ beam §§ §§ §ai

ih< him .UZh m©Zhnh»hOhm m<himh.hhimOZ .> mh>uh<@

 

emma h ci<OioocN

ea§m §§ beam §§ §§ §ai

:m< him .UZh mmh>hOhm mthmmhiZmU .> h. Mmh.h©<mm<©

 

hiEi h oo-<©-mo

ea§m §§ beam §§ §ai

.i.h< him .OZh mmh>hOh.h ihD<»h .> .m< him mvhihmi

 

momeoi>©ioon~

§aiia a§§c §a§>§ .m.c .w.c

©vh mih© iD<th .> mvhmDi

 

wmhimo->©imon~

a5a2m25cih hc mmi§nh §Bmam .U.D .m.D

Ovh mmh© iD<th .> mvhuhDi

 

omhiomioo

§a§a a§§§ §a§eam .m.c .m.m

:m< him Ovh m.th iD<th .> mh<Mi

 

Nvao->Oioo"~

a5a2m25cih mc micimi§mh EBmam .U.D .m.D

Ovh mih© iD<th .> mh<Mi

 

vmm: o-<O-@ooN

§ee_.m §§ beam §§ §§ §ai

ih< him .UZh mOZthOh.h Mh<himwhhimOZ .> Mmhim©i

 

 

mmmow->©-mo~m

 

§ai§a a§§c §a§eam .m.c .w.:

 

.m< him ..UZh mOZhnhuhOhih m<himh.hhim©Z .> mmhim©i

 

 

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wmhimoo <O icm

ea§m §§ beam §§ §§ §ai

<Di©m,.h
h.hhiDOm iO mmh>hOh.h UihU<,h Qm<mz<him .> ih< him Nm~imhhib©

 

Nvi<Oih moh moiooo~

§=§m §§ beam §Q-§e§§ _§ai

ih< him .LMOU M<szuh .> mmh.hhiZD©

 

mhimv h oi<OioooN

ea§m §§ beam §§ §§ §ai

:m< him .OZh mmh>hOhm mZhihvhmhiZmU .> NhiihD©

 

woom~owom©<©

§=§m §§ beam §§§ §ai

ih<
him 515 .OO .>mnh Dvh<<>>mmhm .> iiime mmmn:h©m h>h<mmhim iihDO

 

oocccoi<@i:

§_a§m §§ beam §§ §ai

mmh>hOh.h <QZ<M< .> m.hh>hmhmithO

 

Nv-<U-© h oh moimoo~

§B§m §: § beam a§§-§§>§ §ai

:m< him .»hthU m<Z.me .> ih< him Omm~h~hm©©

 

Nv-<O-@hiwhwoimcom

§§m §§ beam a§§-§ea§ §ai

ih< him OZhD<Mhi §m~ibm <m .> hNN<¢MmD©

 

omemo->©-mon~

§§me§ia a§§§n ea§m .m.Q .m.c

Ovh mih© hD<th .> mmOMO

 

oocooo <U ion

a§§§c §§ beam 285 § §ai

ih< him .OU idith mmZZ<m .> :m< him hihhihnihm©

 

cia h o-<UimooN

§=§m §§ beam §§ §§ §ai

ih< him .hmOO <Di©ui iO mmh>hOh.h 1h 5 .> ih< him hiZ<NhO

 

mwmmoioh

§§m §§ beam a§am §ai

.wh< him .UZh vhh>h mvhhmhiw hahme .> h>h<h.h<m©

 

howe h othU<O

2585 55 55505 mia>>cim amici

:m< him .OZh ZOhhiODmhimZOU mmh>hOhih mZhimmmhiZmO .> h>h<hm<m©

 

Nm-<O-mmo h wo-@oo~

§§m §§ beam §c-§§§ §ai

ih< him UZhnh<~hhi <h>hmyiDm <A .> Nmuh<NZOU

 

Nvi<Uiwa h woiooom

§§m §§ beam 8§-§§§ §§§

mmh>hOhm mmH<himm zm<m h.hhi~hOZ .> Nmm<NZOO

 

vwocmo-ohom

§§m §§ beam §c-§§ §ai

Ovh m.hh© iD<th .> Nmuh<NZO©

 

Nm-<Uioomh moiooom

§§m §§ beam §c-§§ §ai

ih< him ..thOU m<Zmeh .> Nmm<NZOO

 

cmvvh oi<O-mooN

§§m §§ beam §§ §§ §ai

:m< him .OZh mmh>hOhm mZhithmhiZmU .> Nmih<NZO©

 

mai<©-vmoh mciooo~

§§m §§ beam §5-§§2 §ai

.m< him .,h~hOU M<szm .> Nmuh<NZOO

 

mhmhmioh

a§§§ §§ beam 8§-§§2 §ai

.OO irih.iDm mmZZ<m .> :m< him Nmuh<NZOO

 

mmhimm->@io h uh

§a§a a§§§ §a§eam .m.5 .m.c

ih< him Ovh mhh© iD<th .> Nmm<NZOO

 

himmvo->©io h mm

a5ai25cih hc §ci§nh EBmam .U.Q .m.D

ih< him Ovh mih© hD<th .> Nmm<NZO©

 

o:immoioo

§§m §§ beam §>§m §ai

Ovh m§th iD<th .> thhimDihOO

 

Nommmooom@<©

ea§m §§ beam §aa§ §ai

Ovh m.hh© iD<th .> thhimnhim©©

 

 

coe h mi>U-oouo

 

§ai ia a§§§c §a§eam .m.c .m.c

 

Ovh Wth iD<th .> thhimnhm©©

 

 

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wmhiomco rzc.iO 55 bicch mia>>cim amici .LMOO <n:i©mi iO mm§OE mO .> ZOmZhihOh.
Umm mmmh©mm>mnh
Ec: csc ia>>ci a ic
himmmoooohm©<© ~. .O §§ b U m m m. i OthDOE im.> .> mm DZDi iWhihZDhiMhO.iO mmihi<m>>ii.hih< OEUhMmh.
Umm

ommmmcimoom

ea§m §§ beam iia§-§ea§ e§ai

mMmZ>>ODZ<m ©hw th .> .OZh mMOhiO<MhiZOO 1h<UhihiUmihm <»%Oh.

 

 

 

 

 

No-whimhimioh ::c.:U 55 banco mia>>cimh amici .m< him .Uzh ZOhmmD dc mozthth MOOvah<O .> EOthOmDO<h.
mowmhoi<©imoo~ 2525 £m h 5ach ncamm Eha.h amici .m< him .UZh mOZDhi.hOE vh<himhmhiMOZ .> OEOZ<Mm-MmOm/\h.
<O-Ei~mioo :zc.iU iam bich mtciai© amici ih< him Omm mmm>h>m hiMOi mEOhih mvh .> ih< him >mO>h
mmcoooo<©woom rsci© §§ banco ahman Ehai amici ih< him .OU mOZ<MDmZh muhhihhi OO<UhIU .> Owhih wZ<Om h>i M<himi
ovhomo-om ::c.:O §§ hicch mia>>cim amici .ih< him Ovh mii© iD<th .> .m< him .UZh ZOhhiODMhimZOO §§

 

vm@mhoiwoom

§§m §§ beam a§§-§e§§§ §ai

.UZh >>h.cwh.>> .> .niOO hithh>m >hihDOm mEOhm

 

iam moi<OioooN

§§m §§ beam §e§ §§ §ai

.m< him hh w©ZhnhmOhm x 0 M .> ih< him mhm.mOhm

 

omnowi>©ioio

§ai ia a§§c ea§eaw .m.m .m.m

:m< him Umm hh mOZthOE MUM .> :m< him mimm©hih

 

mhioi>OioiN

a=aii~cm hc bmi§nh Em§mam .U.D .m.D

.m< him Omm hh mOZiDihOhih MOM .> :m< him mhmmOE

 

woohm-ch

Ea§m §§ beam a§§-§e§>§ §§ai

.m< him Ovh mih© iD<th .> .m< him niOEm¢mhm

 

mmi<viwvmhvoimoom

§§m §§ beam a§§-§§§ _§ai

ih< him Umm him mm >>m ommm .> NmDZ<Zimhih

 

_omvooi<©ioh

§§m §§ beam ii§ §ai

mimmihh©m <mihmm .> .m< him immme

 

Nvi<Oih©mmooio h cm

ea§m §§ beam aaac-§§§ §§ai

.ih<
him Omm E ihmOM<~h %<m >m mmvh<m iO mmh>mOmih mDDi .> MUhh\/hmmhm

 

whichei>©ih iN

a=aii_cih ic Si§nh =._Bwam .O.D .m.D

.m< him i.thm n.OU §Dmi>@ Z<Emh<hi .> .m< him <><hm

 

mmcvooi<©ioh

§a§m §§ beam a§ §ai

§h< him .UZh Z<h>hihmmhim <U .> muhmvhm<E

 

Nvi<O-h omwooimoom

§§m §§ beam a§§-§e§>§ §§ai

.m< him ..hMOU ZOihiUDMhhimZOU mm<Dvah EhiDOm .> ihihm¢vh<hm

 

mhihiow->©-ood

§a§a amin §a§eam .m.c am

.ih< him Ovh mih© iD<ZVh .> .m< him ZOmhmi<hm

 

vNNmoi>Uiom ~N

acaii:cuh mc SEED Em§wam .U.D .m.D

ih< him th m.hh© th<th .> .m< him ZOmhmM<E

 

mom:ioh

:=cmO 55 hicch mia>>cim amici

.m< him 015 mZO mw hmhiii VhiXhm .> OMDmh>h<E

 

Nv-<O-mmmmmoimoom

§§m §§ beam aa§-§§§ §ai

.m< him .LMOU m<Zme .> Z<END©

 

 

himm:oi<©-ooc~

 

§§m §§ beam §e§ §§ e§ai

 

.ih< him .UZh mOZhDihOh.h M<himh.hhimOZ .> >.DO

 

 

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mmcmmoihioo~

ea§m §§ beam aa§-§§>§ §ai

NmnhZ<ZMmi .> me< m<ZOhhi<Z Mz<m mihih<m<m

 

wmwvmo-woo~

ea§m §§ beam aaac-§ea§ §§ai

<D<m©i .> Zwm< m<ZOhhi<Z vhz<..m mihim<m<ih

 

oNihU mmhimh-oh

§§m §a beam §a§§ §ai

:m< him >hihZDhZh>mOU imhi<>>hhm©hmm .> .im< him Oziizmmwi<i.h

 

mh <O §§E~mioh

ea§m §§ beam aa§-§e§§ §ai

Oimm him<m mmi<© .> .m< him ZZ<wh

 

Nvi<Uio h oh wo-moom

§§m §§ beam 8§-§§2 _§§ai

.ih< him OZhQ<Mhhi <h>im~ihihm <m .> <<E<m

 

hommho-<©-@oo~

§§m §§ beam §8§ §§ §§ai

.m< him .OZh mmh>mOhm mthMmhiZmO .> OOihih<ih

 

mmi<©-~hi§moiooom

§.a§m §§ beam 8§-§§2 §ai

ih< Hm .LMOQ M<Zizmm .> MDmmi<m

 

mommmo-oo

§§m §§ beam §aaa§ a§§ai

Ovh mih© iD<th .> mmhiDvh

 

aa$a§l<m-a§

a§m§ §§ beam a§ §§.ai

.i.h< him mm<\§>vhmh NDMU<mmD .> ih< him NZ<MM

 

mmmmoo-<©-oo

§§§m §§ beam §§ §w §ai

.OO imith MmZZ<m .> .m< him hvhm>>©vh<m©vh

 

omm:oi<©imoom

§e§m §§ beam §8§ §§ §ai

ih< him .UZh mmh>mOhih mZhimMmhiZmU .> thhiZmiOvh

 

mw mmcoi<©-oh

§§m §§ beam § _§ai

.ih< him .LMOO mm<>>>inh .O .> .m< him vthZOvh

 

th hoommU<O

rambo §§ iccch mia>>cim amici

.OO wcith Mmzz<m .> §mmvh

 

wcmvmo:hO<U

:E§U §§ iccch mia>>cim amici

.m<
him .OZh ZOhhiOD~hhimZOU mmEOhm thiihmmhiZmU .> <ihih<>>mz<hmvh

 

mmw h ooi<©ioh

ea§m §§ beam 0§ §§ai

ih< him .OZh .OU hith>iOihm>mQ mhiZhOi mmmO~hO .> >ihmmvi

 

Eihiowi>©ioo"m

a§§aiia §§§Q §a§eam .m.m .w.:

Ovh mih© iD<th .> >muhmvh

 

Nai<©ioow h moiooom

§§m §§ beam 8§-§§2 §§ai

ih< him .LMOO M<ZZmuh .> mm.mmvh

 

mmm¢oo-<©io m on

§§m §§ beam §§ §ai

mih<iimhi<h>h OZthth
him<OUZDm .> mimhmmhzi <Di©mi m<MHZmO .> mmh>hOI mvh

 

ovaNo<UhiooN

§§m §§ beam §ei.§ §§ §ai

.§< am m§<mcm§ .> §§

 

h hhm~oi<©-woom

§§m §§ beam §e§ §§ §§ai

.m< him Omih OZ<Lh>hOi iO .OO >ih.iDm mmzz<m .> Z<uh.h<vh

 

mmmoooi<©ih gmin

§eam ea§m aa§ mm

ih< him Omm thDm .him hiMOi

.OU >ihAiDm MmZZ<m .> .m< him Oihih mOZthOhm hime>hhimm>Zh h>i%vh

 

 

 

 

 

.§< § mmm>§ Ec§
:.._O.= csc 00 i® ~.hO

N§§@<m%§ i. .m §§ b m § §. i .cm >§iBw ¢mzz<m .> §<zc;<z §z<m mm<mm z<mmc§&

§§§ §§m §§ beam §aaa§ §ai 29me a sz§Em §cc§mc§<c .> zcmz:ce

 

 

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omnmmoi<©..moo~

ea§m §§ beam §a§ §§ §ai

ih< him .OZh wmh>hOi mth¢mhiZmU .> niOth<m/h

 

Nmi<Uimom@moimoom

§§m §§ beam aaac-§ea§ §ai

mimmsth O m U .> mihvhU<hZ

 

mmhiomoo

:=§O §§ bcscO mia>>cim amici

.LMOU <DhMOi.i iO mmh>hOE ih© .> h<ihth<h\/h

 

ovmv h oi<Uimoo~

ea§m §§ beam §§ §§ §ai

ih< him .OZm wOZiQAOE m<himmhimOZ .> m<hU<hZ

 

Nv-<U-mwom hic h cm

§.a§m §§ beam eac-§ea§ §§ai

:m< him .OZh mmmmithm M ah wh .> Ohm<U<hZ

 

mmmv h oi<UimooN

§§m §§ beam §a§ §§ §ai

.im< him .Ozh mOZthOE M<himwhhiMOZ .> NmiOih

 

hmhim~om

::ciO ii banco miai$cim amici

Ovh mim© iD<th .> Q>Omm

 

Nmi<UiNhioh moiocom

§§m §§ beam aac-§a§ §ai

.im< him .LMOU M<szm .> w<im><mim

 

mwwmoo-<wio h omiom

eam §§m 203 am

ih< him Omm mmmn:iDm thOhm mehm§ .> mDhi:

 

Nmi<O-mmN©moi@ooN

§§m §§ beam aaac-§ea§ §ai

.A< him Ovh mih© iD<th .> thihhim

 

voomco@©moo~

ea§m §§ beam aec §ai

.UZh durhath MmZZ<m .>
<mD A<U<MO <\m\m .LMOO <Di©ii < .UZh m<ZOh,hi<ZMmHZh Oih

 

mmcoooi<©ioo

§§m §§ beam §a_aa§§§ §ai

ZOhhiUDihimZOO <h>h<uhuh .> mOZh><m >hi~hmmhih

 

mh momei<©imo

§§m §§ beam §aaa§§§: §ai

.LMOO ZOhhiUDMhinOO <h>h<mih .> vhz<m mOZh><m >himmmhih

 

Nmi<Uih wvmmoimoom

§=§m §§ beam aaac-§a§ §§,§

ih< him .LMOO M<szwh .> <E<Nmm

 

hoi<U-voov h oio h cm

ea§m §§ beam eac-§ea§ §ai

Am§d Hzm§§c§m>§ <=>§ a ¢Ezbi .> Zc§>>m§

 

h.>im mmw~hooh

a§§§c §§ beam §eaa§§§ §ai

.ih< him Umm DOO>>\:OMM<U hi< mmemO Dm<~hm§m .> >>mm

 

mmmvh Oi<UioooN

§§m §§ beam §aam §§ §ai

<h< him .UZh mOZhQAOE M<himhmhimOZ. .> Zh>mm

 

Nvi<Ui h om>oo-oocm

§§m §§ beam aaac-§ea§ §ai

ih< him Ovh mim© iD<th .> ih< him Uihuh mmh>hOE M<szih

 

Nmi<U-N h mh moimoom

ea§m §§ beam aaac-§a§ §ai

.ih< him .OZh ><>>Omm<© hi< memmmm .> ih< him ZOMmmih

 

Nho-i>mimonh

amici mc bci§m cic£:cm .U.D .w.D

ih< him .OZh iW<>>Owhiih<© hi< mmNmmmm .> .ih< him ZOmmmm

 

:Roci>UiooUN

acaii:cim mc §ci§nh §Bmam .U.Q .m.D

:m< him .UZh ><>>Omih<© hi< mmNmmM.m .> ih< him ZOMmmm

 

mg h ooi<Oimo

§§m §§ beam 3a §§,§

:m< him .LMOO M<ZZmih .> :m< him >><wh

 

wmchimowom©<@

§§m §§ beam _eaaem §ai

.m< him Uihih
h ODZOU <DZ<Mm> .> ih< him Ouhuh an:©hm mhiOZ <DZ<Mm><ih

 

 

Noooooomoi<©

 

rcci© 52 iccch ccEc§ amici

 

NmZhhiM<h>h .> vhz<m mmi.h<m<ih

 

 

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m%moo-<©-oh

§_a§m §§ beam §§ §ai

.OU >m»iDm MmZ.Z<m .> ih< him mthOhm m©<hiim§

 

mmwmmoimoo~

§§m §§ beam aaac-§a§ §ai

E§§m
§§§§z§§ m§>§§§ §§m .> Mz<mmm§§§cm §Fz<m§§

 

Nvi<Oiwhivao-oooN

§§m §§ beam aa§-§§z §ai

.ih< him .iOU m<ZZmi.h .> <NODth\/h

 

m m ooooUUwooN

§§m §§ beam 225 § §§ai

.UZ~ m.h. >mvhmhhih>> .> m>mni<hmmh>h

 

mhihimoo<©woo~

§§m §§ beam 203 § §ai

mmc .mz§ § >§§:B .> zc:m:§mzcm m>§§<:§§

 

Umimv: h-<OioooN

::§O §§ banco abcmaiam amici

h>hOO><O .> ih< him mmh>hOhm ZOhwhm<Dmh>h

 

mmi<©imwow moimoo~

§§m §§ beam ae§-§a§ §ai

ih< him hith>iOihm>mD .i.h<hhizmn:mmm .> >><m©©h>h

 

mwocmoioh

ea§m §§ beam §aa§ §ai

.OO ifti MmZZ<m .> >mihD<OUh\/m

 

mo©moo <© chem

ea§m §§ beam 225 § §ai

:m< him .OU >iiiibm immZZ<.m .> Mmhimhuhuh<OOh\/m

 

Nhimvh oi<OimooN

ea§m §§ beam §§ §§ §ai

.m< him .OZh mOZthOE M<himmhithZ .> mZOEthMhim<h\/h

 

Nmi<OioooooNiocoN

§§m §§ beam @a§c-§ea§ §ai

ZOhmh>hD mm<>>>vhm mmmZhEO mm<U Mmhim<h>h

 

Nmi<©i-wo~oio h am

§§m §§ beam §c-§e§ §§ai

mmmiOihm>mD m m .> <mmh>hm<h>h

 

Nm-<Uio@w©>o-oooN

§_a§m §§ beam @§§c-§§§ §ai

>Dh>imi .> NmZhhiM<h>m

 

momv h oi<©iooom

§§m §§ beam §§ §§ §ai

ih< him .OZh m©ZthhOhm M<hiwmhi~hOZ .> Zhhim<h>h

 

ohio©ooi<mimo

§§m §§ beam §a§aa§§§: §ai

mm<>/>MD ih<hhiZmDhmm~h .> <Dhm©ii iO .UZh meOhm <DODM§

 

mm h ohoi<Uimo

§§m §§ beam §a§aa§§§: §ai

muh<>/>MD uh<hHZmDhmmM .> <Di©mi iO .UZh mmh>hOE <DZOM<E

 

<Ui>mm:oiom

§§m §§ beam @§§-§§>§ §ai

.ih< him .OU >iiiDm MmZZ<m .> >mmm<h>…

 

ho-<Uionmooih how

§§m §§ beam §c-§§ §ai

.OU >m»iDm MmZZ<m .> .UZh mhith>mhimm>Zh m©<ihi=> MmZhM<E

 

whivvooioh

§§m §§ beam §§§ §ai

<Di©mi hmhiDOm iO mmh>hOhih UihO<i ni<nhz<him .> <Ummm<h>h

 

Nvi<Oimooh wo-ooom

§§m §§ beam §§-§§ §ai

ih< him OZhD<Mhi <h>hm~ibm <ih .> thDM§

 

mmmmhoi<©imoom

§B§m §§ beam §§ §§ §ai

ih< him .OZh wmh>hOhih mthmmHZmO .> mmmhihUM<h\/h

 

mmpa h oi<OimocN

§§m §§ beam §§ §§ §ai

ih< him .OZh mmh>hOi mZhihMmhiZmU .> MDNZ<E

 

h homooi<wioh

ea§m §§ beam §§ §ai

:m< him mthOmm .> ih< him me< ODZOU mZmDM<O <me<n_©<h\/h

 

 

>Nvooo <U icm

 

§§m §§ beam §§ § §ai

 

.OO >iiiDm MmZZ<m .> <mmm<h>h

 

 

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cwa moo<©moo~

§e§m §§ beam §§§ §ai

.ih< him omih mmOD .> .ih< him ZOmAmZ

 

hoi<U-NmNc h oioho~

§§§m §§ beam §§§-§§§ §ai

i_ith\/i©ihm>mm <th dc mmhiZDE .> .UZh .iMOU><Z

 

vc>ooi>Uioo~o

§ai §§ §§§E e§§eam .m.§ .m.:

Ovh mih@ iD<th .> OMM<><Z

 

wmwmo->©ioo"m

a§a§:cih §§c bci§m §Bmam .U.Q .m.D

Ovh mih© iD<th .> OMM<><Z

 

:m< him OithZDO< .> m<mmnhmi

 

 

 

 

 

 

:AO.: ESO ON0 E iN N ~hO
N§§§<m§§ §. .m §§ b m § § § § §. i >i§§ci ch §m§§>§ § §cm§mmcw §§ >im §<zc;<z
S§§S-E ea§m §§ beam §aa§ §ai zc;m§ewzcm §§>§c: §z§§§mz§m .> z<m§§§c§z
m§§<m§§§ §§§m §§ beam §§§ §§§i .§< § §§ §cc .> .§< § z§§§c§>§
§§§a<m§§ §§§m §§ beam §a§§ §§ §ai §m§m §§>§c: §z§§§§z§m .> §§§§§§2
.§< § z§ >§§:m §c§m<§zcm

:i~O.: QSO 00 § th
§§§<ma§ §. .m §§ b m § §. i S<cmzmm .> zc§§<§§m§m§ m§zc§mm§§§ §m<m§c§>§
.§< § m§§ mz§§c§§>§c

:.FO.= ==O 00 N ~hO
§ § §~§a<m§a§ .. .m §§ b m § §. i mm<cm"§§cim .> zc;<§§m§ m§zc§m§§§ §m<m§c§>§
E§§§m<m ea§m §§ beam §§§ §§§i .cm z=z<; B§<cm§mm<§§§ §<z§ .> m§§c§>§

 

Nvi<©iwoommoimoom

§=§§m §§ beam §§§-§§§ §ai

ih< him .LMOU M<ZZmim .> Omimh¢©h>h

 

Nvi<©ivmm: hi:

ea§m §§ beam §§§-§e§§ §ai

ih< him 015 mhith>iimm>Zh mvhUOEE<hih .> mmm<MOh>h

 

mhihio h o-<O-oooN

§§§m §§ beam §§ §§ §ai

:m< him .OZh mmEOhih mthMmhiZmO .> mhvh<m©h>~

 

Nvi<Ui© h oh woiooom

§§§m §§ beam §§§c-§§§ §ai

.iih< him OZhD<Mhi <Emthm <im .> ZOh>h

 

N~iomm->©-o h uh

§§aiia §§§E e§§eam .m.c §§

.iOO
mMOhiO<MhiZOU mm mhiUmhhhihUm< mo .> >hiih<Dm<O hiZmZhhiZOOiDhE

 

mmm h ooi<©i:

§§§m §§ beam §§§am §§§i

ih< him .UZ~ mmh>hOhm mmhiZ<thZm .> mm>mh>m

 

mmmvh oi<UioooN

§§§m §§ beam §§ §§ §§§§,,§

:m< him .UZh wthOE mZEMmhiZmO .> Mm>mh>m

 

Nvi<Uiowoh moiooo~

ea§m §§ beam §c-§§>§ §ai

.m< him .LMOU M<szm .> 1hNhimh>m

 

ohimic.~->@-oonh

§§§§§ §§§c e§§eam .m.c .w.c

Ovh mih© iD<th .> ihNhimh>h

 

wmwwoi>©ioonm

§e§§e§§i§§ §§c e§§§§ .m.c .m.c

Ovh mih© iD<th .> ihNhith

 

Nv-<Uihim h Nmoimoo~

ea§m §§ beam §§§-§§ §§,§

:mi<. him .LMOO M<szim .> <mm§

 

 

Nvi<UihiN h Nmoimoo~

 

§§§m §§ beam §§§-§§>§ §ai

 

.im< him .LMOU M<Zmeh .> <mmh>h

 

 

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Nvi<©imoo h moiooom

§§m §§ beam §§-§§§ §ai

:m< him .LMOU M<ZZmih .> ih< him Nm~hm.m

 

mom h hicimoo~

§§m §§ beam aa§-§§§§ §ai

Omm mimz>>©nhz<ih mhw th .> .OZh m<hii<U h>thZmi

 

mm <U moomo-om

§§m §§ beam §§-§§E §ai

.OU >mniDm MmZZ<m .> <Zm»m

 

wmamoo<©hioo~

§§m §§ beam §§ §§ e§ai

him<h>m .> hiOuhuhmhh

 

mh mooi<Uioh

§§m §§ beam 03 §ai

:m< him <Uimh>m< iO mmmnhihhbm mO<hiZ<>D< .> .m< him mO<mi

 

wmm>oi>©ioonm

§§e§ § a§§ §§§ .m.c .m.:

Ovh mih© iD<th .> ZOhi><L

 

mwovooi<©ioo

§§m §§ beam §§ §ai

.m< him .LMOU OmD .> ih< him ZOhihi<Am

 

weil oi<Uimoo~

§§m §§ beam §§ §§ e§ai

.m< him .iOU <Qi©mi iO mmh>hOE 1h O .> OZhEUhi<i

 

>moh mo<UmooN

§§m §§ beam §§ §§ §ai

ih< him immm
me¢@ ZOhi©Zhuhihm>> hi< <N<imi .> .OZh m<ZOhhi<Z¢mhih/hh mm<m

 

>wmm h ci<UioooN

ea§m §§ beam §§ §§ §a_,§

.m< him .UZh mOZthOE M<himhmhithZ .> ZOhm<L

 

hoi<©i§~oo moi~ioo~

§§m §§ beam §§-§§ §ai

.OO UihO/i <h©¢©m© .> D<mzi<i

 

 

 

 

 

wavoo <U omom mimi§@ 53 wicch 225 am amici .m< him mmh>mOE mm>OZ<hih .> .ih< him hmhzOm<i
Nvi<OithNmoimooN §5:0 § h S=:cU mmanh-i=ai>h amici .m< him .LMOO M<szm .> MONO
Nh-m:ooih h :§c:O 55 bicch mma>>cim amici ih< him MUOh>=>h<hih vh<O hi< m<imihh> .> mDMO

02 :ohiomO<O §5:0 55 SEEO mia>>cim amici .OU i_ith>hmO<Z<h>h ZOhhiOD~hhimZOO Mmmhm<© .> ODZ<ih¢O
ooowmoiom :§ci:O 52 idach mia>>cim amici .OU >m»iDm MmZZ<m .> OQZ<ihMO

 

vmvm h oi<Uiooom

§§m §§ beam §§ §§ §ai

ih< him .UZh mmh>hOE mZhihMmhiZmU .> .m< him hvhm>>mh.h©mm©

 

v>N h wi>Oioouo

§ai ma a§§ Ea§§am .m.m .w.:

.UZh mmh>mOhm mZhA~hmhiZmU .> hvhm>>mhih©muh©

 

hm~boi>©imo"m

a=ai§cim hc §ci§m §Bwam .U.Q .m.D

.UZh mmh>hOhm mthmmhiZmO .> hvhm>>mh.h©mm©

 

§§ h oo-<U-mo

ea§m §§ beam i§ §ai

.m< him .OZh <Qi©mi EhiDOm iO wmh>mOhih mez<h.h .> hvhUh>>OZ

 

om\immo-<©iooom

§§m §§ beam §§ §§ §ai

ih< him mm LDOMO
rE/hmh>iO\hm\/mnh mvh<O mhmhi ZhviOhh mmmz<mi.h< .> Ommm>OZ

 

 

 

 

NohiNNom :REO 55 banco mEBcim amici Ovh mnth WD<ZM .> Z<uhOZ
ho-<UioNNmooi>ooN ::c:O 5: bicch mmamii§ai>m amici .OU >ihniDm MmZZ<m .> <mmmmOUhZ
hm: ho-oh §§EU 55 iccch mia>>cim amici <Di©mi h.hhiDOm iO mmh>h©h.h UihO<nh ni<nhz<him .> ih< him mm>mZ

 

 

 

 

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mmmooi>©ioouh

§e§§< § a§§ e§§§ .m.c .w.:

Ovh mih© iD<th .> Dihmi><¢

 

 

 

mwv~moimo §i:cii© 55 b=:cO mia>>c§m amici .OZh <Dh~h©ii EhiDOm iO mmmnhthm Mmhim<h>i .> Oh<¢
owvmoo©©hioo~ §5:0 item dicch mom amici .m< him h>h<huhihh>> Zmnh~h<© .> .UZh muhmi<i>h QmMDhimDO >hhm<DO
wmwmoo<©ooom mi§cii© 52 bc:oO 225 aim amici AUOV mmh>iOhih mZhithmhiZmU .> h.hmDmvahU<DO

 

mm <U me©N-oh

§§m §§ beam §c-§§ §a§

ih< him mvhUOh>hh>h<hih m>OMO .> hihimvhUDL

 

hommhoi<©imoom

§§m §§ beam §§ §§ §ai

.m< him .UZh mmh>iOhih mthMmhiZmU .> hQZ<Mi

 

Nvi<UiommmooiohoN

§§m §§ beam §Q-§§§ §ai

ih<
him Oihih mh ihmO~h<Ai ><m >m mmvh<m iO mmh>hOhm mDhMi .> mmm>>©.i

 

voghoi<©imoo~

§§m §§ beam §§ §§ §ai

.m< him .OZh mmh>iOE mthmmhiZmU .> memDOi

 

Nvi<Uimvonoimoom

§§m §§ beam §Q-§§ §ai

.m< him .iOU M<szm .> >mZOmOAi

 

mhowmo-moom

§§m §§ beam §§-§§E §ai

Ovh mih© iD<th .> <N<mnh

 

mm h NN->O-QQ¥

§ai ha §§§ eii§=am .m.m .m.m

:m< him Ovh m.ihO iD<th .> <N<mi

 

Eiwmo->©imonm

aaai§cii ic ici§m EBmam .O.D .m.D

.m< him Ovh mih© iD<th .> <N<mi

 

hith ooi<O-oo

a§§ §§ beam i§ §ai

.m< him m<mmDOQ thZ<Ni .> ZOmthDZmE-mi<mi

 

mag h c-<OiocoN

§§m §§ beam §§ §§ §ai

ih< him .UZh mmh>iOhih mZhih~imhiZmU .> mhihiOUi

 

Nmi<UiNmonoioooN

§§m §§ beam §§-§§2 §ai

.ih< him .LMOU M<szm .> OUi

 

covmoc<©oh on

§§m §§ beam § §a_i§

.LMOU mmuh<>>>yinh .O .> .m< him imrhihimhh

 

hvmmoo<©moom

§§m §§ beam §§ §ai

.m< him ohih mmOD .> .m< him ZOm¢mhimi

 

wm h vii>©ioo~m

§ai ma a§§ eii§eam .m.m .§

ih< him Omni mmh>hOhih him<OU m~th<m~ihi .> ih< him ZOmMmhimi

 

oh mmci>©-oon~

a=ai§cm ic ici§m §Bmam .O.nh .m.D

:m< him Umm mmh>hOI him<OO mgm<mihi .> .m< him ZOmMmhim.i

 

thooo <O :oN

a§§§ §§ beam §§ ibm §ai

>iinth MmZZ<m .> D<Dmmmi

 

mmmmoo <U chem

a§§§c §§ beam §§ § §a_i§

>m»iDm ~hmZZ<m .> .m< him QD<mMmi

 

emma h o-<O-mooN

§§m §§ beam §§ §§ §§i§

.ih< him .UZh mmh>iOh.h mthMmhiZmU .> 255th

 

Nvi<Oinw hwoimoom

§§m §§ beam aa§-§§>§ §ai

mmh>hOh.h mmhi<himm h>im<.i hmhiMOZ .> Nmmm.i

 

 

Nomoooi<©ih how

 

§§m §§ beam §§ § §ai

 

thDm .him hiMOAi OO >mniDm MmZZ<m .> Nm~hm.i

 

 

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hmhimmo-<©-@oo~

§§§m §§ beam §§ §§ §ai

hith>iOihm>mnh mvh<© mhmhi ZhviOnh mmmz<mm< .> ih< him meOMh

 

mmcmmoi<©imoo~

§§m §§ beam §§ §§ e§ai

.m< him im nhDOMO
hith>iOmm>mnh mvh<O mh.hhi ZhviOi mmmz<mm< .> :h< him meONh

 

omv:o-oh

ea§m §§ beam §§§ §§ai

<Di©mi mhhiDOm iO mmh>hOhih UihO<»h ni<mhz<him .> ih< him m<mOM

 

mwhimmoo th<U

ea§m §§ beam §ea§ §ai

.m< him <DhMOii iO h.hhiDOm
iO wm§©h.h UihU<i i<th<him .> .UZh >MZOm<h>~ mm<nhzmvh ZOM

 

ho-<U-omh hmoimoom

ea§m §§ beam §c-§§>§ §ai

AOihihV mo<mnhhimvhm<h>h mi.hO<Mhhh\/m .> .OZh >MZOm<h\/h mm<nhzmvh ZOM

 

ommvho-<©-ooom

ea§m §§ beam §§ §§ §§,§

.m< him .OZh mOZthOh.h M<hiwhmhiMOZ .> Ovhmh>hOvh

 

Nv-<O-o.n h mmoimoom

§§m §§ beam §Q-§§E §ai

.LMOU O m D .> m<h.OM

 

Nmmoo->©-oh nm

§ae§% §§§c e§§ .m.c .m.c

.m< him Ovh mih@ iD<th .> ih< him meOONh

 

 

 

wamaoo<©ohom mimin EQN bicch mom amici ih< him .OO >m,ti MmZZ<m .> NmD©hMDOM
Na-<U-hwvvm-ohom :=miU E: mmanh-i=aiz amici .m< him iD<th .> .ih< him NmDOiDONh
oowvoo<©ohom ES:U 50~ banco mom amici :h< him .OU >m~iDm MmZZ<m .> ih< him ZOmthOM

 

on <U mmmom-oh

ea§m §§ beam a§§-§§>§ §ai

ih< him ni<©mimhim<ui iD<th .> .m< him thO~h

 

ocmhm->©-mouh

§§ai .a a§§§ ea§§am .m.c am

Ovh mih© iD<th .> .m< him mhiyhmm©~h

 

ohiwmo->©-mo-

§§§_a§ § §§§c e§§ .m.m .m.c

Ovh 9th iD<th .> .i.h< him mhi¢~hmm©~h

 

mmmomo-<©-moo~

ea§m §§ beam §§ §§ §§§

.m< him .OZh mmh>hOhm mZhihvhmhiZmO .> .i.h< him ONNi

 

himhimoo-<©-oh

§§m §§ beam §aeaa§§§: §ai

Omm ZOhhiODMhimZOO <himm .> Umm himthO~hmh>hM

 

Nvi<O-mmw h mo-ooo~

§§m §§ beam §m-§e§>§ e§ai

ih< him .LMOU M<Zme .> h. ZOUZhM

 

Nv-<O-oow h moiooo~

§_a§m §§ beam §c-§§>§ §ai

.m< him .iOU M<szm .> OUmmi

 

woh mvo-hioom

§§§m §§ beam @§c-§e§i§ §§ai

mDOH<m .> .UZh <hh>h iO ii

 

Na-<U-mmmmoo-ohom

§§m §§ beam §§-§§>§ §ai

.i.h<
him Oi.huh hih mmOMh<i ><.m >m mmvh<m iO mmh>hOhih mnhhyi .> Onhm~hhimmyh

 

mhi$ioo-oh

ea§m §§ beam §§§ §ai

.OO irwinth MhmZZ<m .> ZODZmi

 

mmNoo->U-mo"h

aEanam< mo mmi§nh §m£:cm

.ih< him Ovh mih© iD<th .> ih< him nhi.hmi><vh

 

momvoi>©-ooum

a=aii:cm ho mmi§nh EBmam .U.D .m.D

.m< him Ovh wih© iD<th .> .m< him Dmmhi><~h

 

 

oddo h oi<O-moom

 

§§m §§ beam §§ §§ §ai

 

.m< him .UZh wm</hOE mZhuhMmhiZmU .> mZOh\/;<i~h

 

 

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~v-<U-hiwwwmo-mooN

§_a§m §: § beam §§§-§§E §ai

.m< him Ovh mih© iD<Zvi .> O hi<ihmw

 

h:vh->O-mo"N

§§§E§ a§§E e§§eam .m.m .m.:

Ovh m.ihO iD<th .> Qimmihih©hii©m

 

momvo->©-oon~

a:aim§oih ic imi§nh Evimam .O.nh .m.D

Ovh wih© iD<th .> Qmmih.h©hii@m

 

aid h oi<O-oocN

ea§m §§ beam §§ §§ e§ai

.m< him .UZh m©ZthOhih i~h<himhihi~hOZ .> imh.hU<h\/iDhihOw

 

mmmmoo<©oho~

ea§m §§ beam §§ §§ai

.iOU mmih<>>>inh .O .> ih< him mhiEOhmhihUm

 

NNmmoo-oh

ea§m §§ beam §b§§ §§ai

<Dhi©mi EhiDOm iO mmh>hOhi OihU<i ni<nhz<hiw .> imIOm

 

mm homi>U-oouo

§§ai §§ §§§E e§§§a§i .m.c .m.m

.OZh ZOhhiODMhinOO thiO~h<U .> hiODOMOmi<Um

 

wmmvoo-<©-o h oN

§§m §§ beam §§ §§ §ai

ih< him .OU irwiti imZZ<m .> vi Mmhihi<m

 

Na-<©-.nooi wo-ooo~

ea§m §§ beam §§§-§e§>§ §§,§

.m< him .UZh mmhinimhizm <h>thiDm <m .> i<vi<m

 

mmmmvoo

§§§§m §§ beam §b§§ §ai

<Di©mi EhiDOm iO wimnhthm imhim<h>h .> O§ih\hi Z<m

 

Nh mi oi<U-moom

§§§m §§ beam §§ §§ §§ai

.iOU h>X
hiU<mm ZOHEOm di .iOU <DiOmi iO mmh>hOhih m O .> mhhizh<w

 

mwh hoo-<U-oh

ea§m §§ beam §§ §ai

mmh>hOhih <DZ<M< .> mvhm<m

 

vwm:oi<©-ooo~

ea§m §§ beam §§ §§ §ai

OZh wOthhmOE wh<himhihiiOZ .> vthU>M

 

NhomimU<U

racing §§ b=soO m§ai$c§m amici

.m< him Dhim .OU Zhh.Z<hhi i<Om-hmhim<ui iD<th .> OmmDMh

 

omooooi<U-oh

§§m §§ beam §§ §ai

mmh>hOE <DZ<M< .> ih< him hthDi

 

owmomo-hioom

§§§m §§ beam §§§-§§i§ §ai

.OU >mniDm MmZZ<m .> mmthi

 

omvoo->U-ooHN

amici ic ioiimi o_mmi>h .O.D .m.D

.iOU mmh>hOii imN<mm .> ih<>Oi

 

himmvo->©-oonm

a:aii_cih ic ici§m Emimam .O.D .m.D

.iOU mmh>hOhi MmN<mm .> uh<>Oi

 

mwv~oo-<©imo

ea§m §§ beam §§ §§ai

.m< him .iOO mmh>iOE MmN<mm .> ih< him A<WOM

 

ohiv~oo-<©-mo

ea§m §§ beam §§ §ai

.im< him .iOU mmh>hOii MmN<mm .> ih< him i.h<%Oi

 

 

 

 

 

 

 

§§--<m-§§ §§§m §§ beam §§ §aE mm§cm <mz<§< .> §< § D<Ec§
.§cm §>m§

l l =._O.= ~A 30 ONO E N d h O
§§:O <m §§ §. .m §§ a m § m _ § §§ i :m<mm zciz>cm §§ .S§cm <E§c§i§ §§c mm§c: § m .> z<§>§ic§
.§< § § .§Dc§m

l l ~:O.= ~A =:O ONO E m iN i.hO
§§ <m §§ §. .m §§ § m § m _ § §. i izm§.§c§>mn 320 mci z§i§c§§ mmmz<§< .> .§< § §§
.§< § § §c§m

 

 

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hww>ooio h on

§§§§m §§: beam §§§-§§§2 §§§ai

Z<UZDD .> th<m himDMhiZDm

 

 

 

 

 

vwmmoo-: :sc.:O £mh bcsc© cw:cicnw=mm amici .ih< him .UZh mmh>hOhih yi<h>hmm~i .> .UZh mmmh~immhizm mihhh>h E<mhim
hionoo<OwooN inciO 59 mcich mic:ih aim amici ih>© OMmDm O><himDO .> th<m Ozhimhim
him§ho-<©-ooom ::c:U ibm h bc:cU icacm E_a.m amici .ih< him mmh>mOhm mZhimhiZmU .> Mmzhmhim
. . . . . ih<

- i . a ic c ci§ §ic :c
omni >U mo o m. ii b . m .D 5 m U m m D him Oii muh<imhi§ Evithth >>mZ Ozmh.hmm .> .im< him Mmthhim
ih<

mmmmoi>©iooum

§e§§e§ ma a§§§§c §§§§§§ .m.o .m.m

him Oui mih<imhi<h>h Evithth >>mZ OZhh.hmm .> ih< him imzhmhim

 

mh mv h oi<UimooN

ea§m §§ beam §§ §§ §§§ai

ih< him .UZh mmh>hOhm mzhimhiZmU .> LDOm<him

 

mvmcoi<©oho~

ea§m §§ beam §a§ §§ §§§i

Emm §§c: mz§§m§zmm .> szE §

 

 

 

 

 

 

 

 

 

 

omoicioh ::ciO ii immich mia>>c§m amici .OZh ZOhhiODMhimZOU mmh>hOhm mZhimhiZmU .> M>U .him
whmmooioh §M:cii© 55 inpach m§a>>cim amici <Di©mi EhiDOm ,mO mmh>hOhm UimU<i i<mz<him .> mmDOw
ohimmmoioh ::ciU 52 bc=cO m§a>>cim amici ih< him Z<m>hihmmm hmhimZvah .> .ih< him <vthm
Nvi<O-mmwohioimooN ::c.:O £: b::cO cmamii=ai>m amici ih< him .OO >m§iDm MmZZ<m .> ih< him Dhim .OO <ihihmm<i.h©m
@moooo<mohom §§in £oN wicch com amici .ih< him Umm mmh>HOh.h himmi Z<hZ<>OE .vh .> :m< him Ehihh>hw
ommmoo-oh :sc.:O ii b=:cO mia>>c§m amici <Di©i.i EhiDOm imO mmh>mOh.h OihU<i ni<mz<him .> EOth
mvvooi<©-oh inciO ibew S==cU com amici .ih< him mimmmhbm wmh>hOhm Dmhii .> .im< him hihimm>uhhm
w:~ovoo ::ci:O ii disco mia>>c§m amici <Qi©ii IhiDOm imO mimmimh©m Mmhim<h>h .> 1hm@mhm
wmm:oi<©iooo~ r:ciU £mh Sc:cO icamm E_a.i amici ih< him .OZh mthOE mZmimhiZmU .> mm©mhw
Nwhohoioh inci© 52 b:=cO nw:c._c§_m_:h.h amici Uuhwh himmi©vhm>hm .> ih< him hDOhQDhm

 

No$lo-<©-moo~

§=§§m §§ beam §§ §§ §§§a§§

UZh mOZthOhm M<himmhiMOZ .> >><hihm

 

omhimoo-<©-mo

§=§§m §§ beam §§ §§ai

.im< him mmh>hOhih <DZ<M< .> ih< him >><hihm

 

mh :~T>Oioon~

§§ai§§ a§§§§c e§§§am .m.m .m.m

Ovh wih© iD<th .> iOOvh<hihm

 

womvoi>miooum

acaim§c\h mc pci§m Ec§`mam .U.Q .m.D

Ovh mih© iD<th .> MOOM<Em

 

mwooho<mmoomwm

§B§m §§ beam §a§ ibm §§§§§

.m< him mimmmh©m M<§D\h .> :h< him iOOvh<Em

 

 

ommmoo<©o h cm

 

ea§m §§ beam §§ §§§§E

 

.OZh mmmh>h<Mi DmhihZD .> ih< him <§ODDD_.<Mmm

 

 

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vmm©oo-o~ ::o:U 55 SEBU EQBQ.E mwto_m <DEOAL EHDOm mO wm=ZOI DM<DZ<HW .> NmDUm<>
Nv-<O-m:: mo-moo~ rooth 5: D::oO QUQD-~E£E amici .A< Fm .LMOO M<sz: .> <Zmbmq<>
mmv©~o <O o~om 2586 52 danon sonam EEL unto-m .A< Hm~ mw<m: DZmA wH>Om_ .> UOMOZ OmD

 

N¢-<O-E.vmmo-moom

§on e: beam §m-§_§ nasa

.A< Hm .LMOO M<ZZMA .> .A< Hm~ <O<mD

 

mom-->©-mo;

§§EO §§ §e=om .o.n .m.:

.A< Hm OM m&© mD<ZM .> .A< Hm <O<mD

 

ommoo->©-~ fm

§§Esou ,~o SEED Emem .O.Q .m.D

.A< Hm OM mEO LD<ZM .> .A< Hm <O<mD

 

Nw@-co

=§C 52 esso E§Em §SE

OM m&© LD<Z¥ .> <ZUMD

 

ww~mmo-<©-moo~

:§C er view §§ §§ mesa

.A< Hm .OZ~ mmEOE mZ:M_mE.ZmU .> ZE.D,_.

 

moo-oo@m

§§sz
§§me § l §§ m§&< _§SE

.Q<
Hm .OO >ALLD@ Mmzz<m .> .A< rim .OU ZO:UDNE.mZOU MmZMDH

 

ca ~oo-<U-o~

E§G 53 b§oo 03 €EE

mm=ZOE <DZ<M< .> .Q< Hm MUMUDH

 

mwmmmo-ooom

§on e: b§@o %B-ESE SEE

Gd m¢mz>>omz§ Hmm§m 395 .> Mz<m oiz<§<mz§H

 

wemvoc-<©-o~

§§5 58 555 03 SEE

.A< Hm m©Z~DAOE >Mm .M .> NUDOEQOM nw mmEMOH

 

Nowooo<©>oom

§§ 52 beam 203 § 555

E§V ZO:ODMH@ZOU WZ:E<UMELW .> MZ<.m mZOMmE.

 

Nv-<©-mm ~ ooo-@oo~

355 £: base %B-Eez mesa

.A< Hm .LMOU M<sz: .> ZOmmEOEH

 

omamoo-<©-oo

355 52 €=Qo 03 mesa

.A< r_.m mm=ZOE EOHWDU n=. .> .A< Hm_ m<EOEH

 

 

 

mommmo-o~ ::Q:O 55 b=soU E§»o»m amici .A< Hm Z§Amn_m .> HMMmEL
wmo: ~o-o~ rooth 55 SEBO o~s>>o~m QE.SE .UE ZO:UDMEL@ZOO mm=ZOI mZ~AMmELZm_O .> MOA><H
Ev©~o-o~ 23me 52 S=soO :m:o~onm==~ mcto_m .OO >AAED@ MmZZ<m .> ZOw§OE MOA><H

 

~mmmoo-<©-o~

§§ §§ b§oo 03 SEE

Uw: QA<>>%MD mm=>j§. .> .A< Hm .OU~MM:<H

 

§ <U o:.;-o~

::Q:U 55 banco §§on QESE

.OU Z=.Z<E. QM<OYmHm<AL LD<ZM .> AUDZ<~Z ~Mm>OA<Z>m

 

 

 

 

 

 

 

<U-mmmm-o_ 250th £om banco .GEQU QE._QE .UZ~ v=z mv=~:m >MUDA .> Z<§Dm
mommvomom©<© :=EC 55 DEEO 295on QE.EE MMOZ~DMOZ .> .OE O,EZ HmDM._LZDm
wmmomo<©moo~ ::Q:U 52 SSEO sonam EEL QEEE Ommmzmm§© .> .UZ~ UO<OH¢OE HmDNE.ZDm
m;vmo<@woo~ ::o:U im ~ >ESOO sonam E_mm QE.SE .Q< Hm § rS/~¢§AmiL Z>>OZMZD .> .UE m©<©rw¢©§ HmDMHZDm

 

 

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wozoo-<@-o § om-cm

t:oO :no:O 225 .§m

.A< Hm .UE ZO:UDMHmZOU mm§©$ mZ:mmHZmO .> mE<EE>P

 

Eamoo-<©-oo

§§§o §§ §§8 §§ §§§§

.A< rem ZO:ODMHwZOU ZOmDE .> ZmDD~§

 

omcmoo-<©-o~om

§§o §§ §§8 §§ §§ _§§§

OZ~ mh<rrmm A<mm §§ ZOE.UDMHmZOU mmm>m§ .> Mm:NHmB

 

2 m@v-o~

§§§o §§ §§Oo §§§ §§E

.A< Hm mn:© LD<ZM .> .A< Fm mmZ: mDALMDm MmHmmEOHmm>>

 

cw-oo-<©-o § cm

§§§o §§ §§§o §§ §§ §§§§

>QAED@ MMZZ<D .> .OZ~ ZO:ODMHmZOO Hmm>>

 

Nv~omo<©-moom

§=§o §§ b§§oo §§ §§§§

.A<
Hm .QE OZEmE.m<AL nw AA<>>>MD m=>=¢m .> ¥Z<m OOM<L wu:m>>

 

~.Nw mvoo~mO<O

::Q:U 55 b=soO E§>o.§m §..E._QE

>m:@<¢m ZO>A .> MZ<m O©M<m mqqm§>

 

mem § No-o ~ on

§§o §:§ §§Qu @§§-§§§>§ §§§§

§§ mmo§ N§Eo .> 25 §z§ o@§<,§ m§§m>>

 

Ho-<O-;womo-o~oN

§§§o §§: §§8 §n-§§ §§§§

.,§oo §20: <§mi .> §§S:§b §mz§m§

 

>w>ooo-~ 3m

§§§o §:_ §§Oo §Q-§§>§ §§§§

.UE A<ZO:<ZMMHZ~ mmEOE Dmr:ZD .> Mm;mmm>>

 

civ § oo-<O-o~o~-cm

t=oO ES:O 225 .§m

.A< Hm .OZH ZOFODMHWZOO mm=>~OE mZ:MmHZmU .> ZOWH<>>

 

mmpa § o-<U-mooN

§§§o §§ §§8 §§ §§ _§§§

.A< Hm_ .UZ~ m©EDAOE M<HmEHMOZ .> DOZDOZ<>>

 

E.E§oo-o~

§§§o §§ b§§§o §§§ §§§

<DEOAL EHDOm mo mm=ZOI OF:O<L DM<DZ<Hm .> mw<w:<>>

 

§ mw § o-<U-QooN

§§§o §§ §§8 §§ §§ §§§§

.A< Hm .UE mmEOI mH<Hmm >m>¢<f Z<OWDH .> MMHIU<>>

 

@©I§ _ o-<O-moom

§§§u §§ b§§o §§ §§ §§§§

OZ~ mOZ…DAOI M<HWEHMOZ .> m<Z~wHDO>

 

N~Nov-c§

::Q:U 55 b:=oU E§>o§m QE§QE

.1_< Pm .OU >AAEDm Mmzz<m .> MOOEE<E M<O H< m<u_u=>

 

Nv-<O-_ :§o>o-ooom

§§§o §§ §§oo @§§-§§§E §§E

.Q< rim OED<MH 664ng <A .> <HQ<Q\=>

 

Nv-<U-vow § wo-moo~

§§§o §§ §§o @§§-§E §§§,§

.A< Hm OZ~D<MH <Em~¢mbm <A .> mOm_OA<A~d>

 

S-<O-v § wm _ o-ooo~

§§o §§: §§8 §n-§§ §§§

.A< Hm Uw: mm§©$ M<sz: .> .A< Hm meOHU~>

 

N>wmo->U-oonN

§§E:o§ Wo §§§Q :§Bw§m .O.Q .m.D

.A< Hm 015 wm§OE M<Z,ZMA .> .A< Hm mmEOHU~>

 

co § NN->U-QQ;

§§§ §§ §§§ §§@§§m on .m.:

.A< Hm_ UAA mmEOE M<ZZmE .> .A< Hm mmMOHU~>

 

o_ moN->O-@c;

§§2§ §§ §§Q §§§§Ow o.n .w.:

O.v~ m.=© LD<ZM .> mMmMU~>

 

: §o..>©-oon~

§§§§ §§ §§§ §§m§ .o.o .m.:

OM m&© LD<ZM .> mMmMUH>

 

 

oom: o-<U-mooN

 

§§§o §§ b§§oo §§ §§ §§§E

 

OZ~ mOZ~DAOE M<HmEHMOZ .> mD~Zm>

 

 

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Nv-<©-mmmmwo-ooom

§on £: beam §e-§e§ SEE

.A< Hm OZ~D<MH <Emmmim <A .> mO>MmN

 

Nv-<U-va ~ mo-moom

E§G e: b§oo §Q-§§E SEE

.A< Hm .LMOU M<ZZmE .> <DmLmN

 

~mvv ~ o-<U-oooN

§§ 52 555 §§ §§ mesa

.A< wm .UZ~ mm_§OE WZ~AMMHZMU .> OZO>>

 

Nv-<O-~ mw ~ molooo~

E§G e: b§co QBQ-~§§ 2505

.A< Hm .LMOU M<ZZMA .> .A< ,~.m LAO>>

 

33 ~ owomO<O

=§G 55 b§oo E§em mesa

.Q< Hm .OZ~ mmEOE HZ<OmAm .> .A< Hm HEO>>

 

~vamo-oo

:=Q:O 55 zion E§>Em amici

LDOMO HZmELOAmE/UD mM<O NEW ZUEOL mmmz<m:< .> mm:\§

 

 

Enoo->U-oTN

 

m=m~$:ow~ wo SEmE :~mem .U.D .m.D

 

.A< rem UAL mw~<am;<§ OZ~DHDM >>mz OZ:.ED .> .A< r_.m Nr_lw=\§

 

 

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EXH]BIT D
GENERAL RELEASE OF ALL CLAI]VIS (THE “RELEASE”)

1. Definitions

l.l. Capitalized terms used in this Order shall have the same meaning as those defined
in the Stipulation and Agreement of Settlement dated June lO, 2011 (the
“Settlement”), unless defined herein.

2. Authority

2.l. Class Members and each individual signing this Release on behalf of the Class
represent and warrant that they are duly authorized to do so and that they have the
authority to enter into this Agreement on behalf of the parties for which they sign.
Counsel for the Parties likewise represent and warrant that they are duly
authorized by their respective clients to execute this Release and to take all
appropriate action required and permitted to be taken by this Release.

3. Releasor

3.l. Class Members understand that the terms of the Settlement govern the resolution
of their claims. Class Members understand that in return for the lnsurers’
payment of the lnsurance Proceeds, Class Members have fully and completely
released, waived, and abandoned any and all claims against the Settling
Defendants that are in any way related to Chinese Drywall and/or the Banner
lnsurance Policies. The Class Members understand that the intent of the Parties is
that the Settling Defendants shall have no further liability in connection with the
Released Claims; the Litigation; the Related Actions; the Related Claims; and/or
the Banner lnsurance Policies.

3.2. Class Members understand that under the terms of the Settlement, any claim that
Class Members and anyone claiming by, through, and/or on behalf of any of them
has, may have, or may have had against the Settling Defendants arising out of, in
any manner related to, or connected in any way with Chinese Drywall; the
collective mitigation of, response to, and/or recovery from the damage caused by
Chinese Drywall; any act and/or failure to act related in any way to any of the
foregoing; the Released Claims; the Litigation; the Related Actions; the Related
Claims; and/or the Banner lnsurance Policies is fully and finally released, waived,
discharged, surrendered, foregone, given up, abandoned, and cancelled

3.3. Class Members understand that Class Members and anyone claiming by, through
and/or on behalf of any of them, will be forever barred and enjoined from
prosecuting any action against the Settling Defendants asserting any and/or all
Released Claims,

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3.4.

3.5.

3.6.

4. Releases

4.1.

Class Members acknowledge having had an opportunity to obtain advice of
counsel of their choosing regarding this release and waiver, and having discussed
it with such counsel to its satisfaction

Class Members acknowledge that each lnsurer has acted in good faith and fairly,
reasonably, and honestly towards the Class and with due regard for the Class’
interests Class Members further acknowledge that the Settlement by the Settling
Defendants, being in good faith, precludes the Class and Class Members, each
Releasing Party, and Banner from asserting a bad faith claim against any lnsurer.

Class Members acknowledge and agree that this Release are irrevocable and
unconditional and is intended to be as broad as can possibly be created.

ln consideration for the lnsurers’ agreement to pay the lnsurance Proceeds as set
out in Section l.lZ of the Settlement, Class Members knowingly and voluntarily
(i) release, remise, waive, surrender, forego, give up, abandon, cancel, acquit, and
forever discharge the Settling Defendants for any and all claims whatsoever
which arise out of, or are related in any way to, Chinese Drywall, the Released
Claims, the Litigation, the Related Actions, the Related Claims, and/or the Banner
lnsurance Policies, including, but not limited to:

4.l.l. Any and all Released Claims;

4.1.2. Claims for personal injury, bodily injury (including death), property
damage, remediation and/or clean-up of property, diminution of property
value, groundwater contamination, loss of use, loss of enjoyment,
economic loss, fear, fear of illness or disease, fear of developing illness or
disease, fright, mental distress, pain and suffering, loss of earnings,
impairment of earning capacity, loss of consortium, loss of support, love
and affection, equity and medical monitoring, bystander liability, wrongful
death, survival actions, breach of contract, all statutory claims, punitive or
exemplary damages, attomeys’ fees, costs or expenses,'moving expenses,
additional rental or mortgage payments;

4.1.3. Claims for nuisance, trespass, inconvenience, loss of use or enjoyment,
negligence, negligence per se, tort, public or private nuisance, custody of a
thing containing a vice or defect, strict liability, liability for ultrahazardous
activities or conduct, absolute liability, wanton and reckless misconduct,
malicious misconduct, servitude or obligation of vicinage, abuse of ri ght,
or any other liability legally asserted or assertable under any federal, state,
or local statute, directive or regulation, redhibition, violation of Louisiana
New Home Warranty Act, Louisiana Products Liability Act (La. R.S.
9:28000.51 et. seq.), Louisiana Unfair Trade Practices and Consumer
Protection Law (La. R.S. 51:1401 et. seq.), negligent discharge of a
corrosive substance, unjust enrichment, breach of express or implied

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warranty, breach of implied warranty of fitness and merchantability (Fla.
Stat. § 718.203), breach of implied warranty of habitability, negligent
misrepresentation, building code violations under Fla. Stat. § 553.84, or
fraud;

4.2. Class Members acknowledge that Class Members may in the future learn of
additional and/or different facts as they relate to Chinese Drywall, the Released
Claims, the Litigation, the Related Actions, the Related Claims, the Banner
lnsurance Policies, and/or any injury the Class Members have ever claimed, do
claim, or may at any time in the future claim. Class Members have been fully
advised, understand, and acknowledge the significance and consequences of
releasing all of the claims and liabilities and hereby assume full risk and
responsibility for any and all such additional and/or different facts, and any and
all claims and liabilities that Class Members may hereinafter incur or discover.
To the extent that any law, statute, ordinance, rule, regulation, case, or other legal
provision or authority may at any time purport to preserve Class Members’ right
to hereinafter assert any such unknown and/or unanticipated claims and/or
liabilities, Class Members specifically and expressly waive (to the fullest extent
permitted by applicable law) their rights.

4.3. Without limitation of the foregoing, this Release is specifically intended to
operate and be applicable even if it is alleged, charged, or proven that some or all
of the released claims and liabilities are caused in whole or in part by the
negligence, negligence per se, gross negligence, breach of warranty, violation of
law, defective product, malice, bad faith, and/or conduct of any type by the
Settling Defendants.

4.4. Class Members understand that each Class Member shall defend, indemnify, and
hold harmless each of the Settling Defendants from and against (a) any and all
claims by, on behalf of, through, or deriving from his, her, or its heirs, executors,
representatives, attorneys or former attorneys, successors, employers, insurers,
employers’ insurers, health insurers, health care providers, assignees, subrogees,
predecessors in interest, successors in interest, beneficiaries or survivors; and (b)
any claims for contribution; indemnity, common law or contractual; and/or
subrogation, whether arising under tort, contract or otherwise, related in any way
to the Released Claims of said Class Member released by this Settlement.

4.5. Class Members understand and agree that the indemnity, defense, and judgment
reduction obligations shall exist regardless of the legal basis for the claim,
demand, cause of action, right of action, liability, lien, or judgment demand
asserted by any person or entity to the extent related to the Released Claims
against any Released Party and/or Settling Defendant. ln paiticular, the Class
Members expressly bind themselves to the foregoing indemnity, defense and
judgment reduction obligations regardless of whether the claim, demand, suit,
liability, lien, judgment, cause of action, or right of action is based on or related to
(a) the negligence of any of the Settling Defendants, sole or concurrent; (b) the
strict liability of any of the Settling Defendants under any theory whatsoever; (c)

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the absolute liability of any of the Settling Defendants; (d) the wanton, reckless,
or willful misconduct of any of the Settling Defendants; (e) any actual, alleged or
purported right, asserted by any Settling Defendant or any Class Member under a
policy of insurance issued by one or more Insurers; or (f) any other basis
whatsoever.

4.6. WITHouT annTATIoN oF TrrE FoREGorNG, THrs RELEASE rs sPECIFICALLY
lNTENDED To oPERATE AND BE APPLICABLE EvEN rF IT rs ALLEGED, cHARGED
0R PRovED THAT soME oF ALL oF THE RELEASED CLArMs AND LlABrLrTlEs
ARE CAUSED rN wHoLE 0R lN PART BY THE NEGLIGENCE, NEGLrGENCE PER sE,
GRoss NEGLrGENCE, BREACH oF wARRANTY, vIoLATIoN oF LAw, DEFEcTrvE
PRoDUCT, MALICE, AND/ok CoNDUcT oF ANY TYPE BY THE oTHER SETTLING
DEFENI)ANTS, ANY RELEAerG PARTY, AND/oR ANY oTHER PERsoN.

5. Pursuit of Certain Claims

5.1. Class Members agrees that they will never (i) take any legal or other action to
initiate, pursue, or maintain, or otherwise attempt to execute upon, collect or
otherwise enforce, any of the Released Claims and Liabilities of or against any
Released Party, (ii) institute or participate in any new legal action against any
Released Party to any extent, or in any way, arising out of, relating to, resulting
from and/or connected with Chinese Drywall and/or with any injury a Class
Member has ever claimed, claims, or may at any time hereafter claim that Chinese
Drywall caused in whole or in part or (iii) attempt to execute or collect on, or
otherwise enforce, any judgment that may be entered against any Released Party
in any legal action described in clause (ii) or any pending legal action against
Banner, the Insurers, or any Released Party.

6. Acknowledgment of Comprehension

6.1. CLAss MEMBERS ARE ENTERING rNTo THIS RELEASE FREELY AND
voLUNTARrLY. CLAss MEMBERS UNDERSTAND AND AcKNowLEDGE THE
NATURE, vALUE, AND sUFFICIENCY oF THE coNerERATroN DESCRIBED IN Trns
RELEASE. CLASS MEMBERS AcKNowLEDGE THAT THEY HAvE READ THrs
RELEASE AND THE AGREEMENT, AND HAvE HAD AN oPPoRTUNrTY To oBTArN
ADvrCE FRoM, AND AsK QUESTIoNs oF, coUNsEL oF MY cnoosING REGARDING
THE TERMS AND LEGAL EFFECT oF THESE DocUMENTs AND MY DEcrsroN To
ENROLL To PARTICIPATE rN THE PRoGRAM. CLAss MEMBERS FURTHER
AcKNowLEDGE THAT THEY HAvE DrchssED ALL THEsE MATTERs erH THE
coUNsEL oF MY CHoosING, AND sUcH COUNSEL HAs ANswERED ALL MY
QUEsTroNs To MY sATrsFACTIoN.

7. No Adrnission of Fault

7.l. Class Members understand and agree that the Settling Defendants have entered
into this Release and the Agreement solely by way of compromise and settlement
These documents are not, and shall not be construed at any time to be, an

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admission of liability, responsibility or fault of or by Banner, the lnsurers, or any
other Released Paity.

8. Representations and Warranties

8.l. Class Members represent and warrant that they have full power, authority and
capacity to enter into this Release, which is enforceable in accordance with its
terrns. Class Members have the sole right to receive any and all Settlement
Payments, if any, with respect to my claim under the Program. Class Members
have not sold, assigned, transferred or otherwise disposed of, or pledged or
otherwise encumbered, any of the Released Claims and Liabilities in whole or in
part.

9. Governing Law

9.l. This Release shall be governed by and construed in accordance with the
substantive law of Florida, without regard to any choice-of-law rules that would
require the application of the law of another jurisdiction

10. Severability

lO.l. Class Members agree that if any provision of this Release is adjudicated to be
invalid, illegal or unenforceable in any jurisdiction the relevant provision shall be
deemed modified to the extent necessary to make it enforceable in such
jurisdiction and, if it cannot be so modified, this Release shall be deemed
amended to delete herefrom the invalid or unenforceable provision, and this
Release shall be in full force and effect as so modified Any such modification or
amendment in any event shall apply only with respect to the operation of this
Release in the particular jurisdiction in which adjudication was made and shall not
affect such provision in any other jurisdiction To the fullest extent permitted by
applicable Law, Class Members hereby specifically and expressly waive any
provision of Law that renders any provision of this Release invalid, illegal or
unenforceable in any respect.

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IN WITNESS WHEREOF, the Parties have read and understood the terms and conditions

of this Release, agree to be bound by all of its provisions, and
date shown by their signatures below.

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Witness Signature

/’/(1 An/ f?.?M/Lm/ rJ*(l’

Printed Name

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Date

attain

Witness SignatureHe’/M‘Vl

Printed Name

(Q /(]///HQW

Date

executed this Release on the

PLAINT LIAISON COUNSEL

 

By:

Rus:l Herrix-an_/L/_\

 

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Date

PLAINTIFFS ’ LEAD COUNSEL AND

 

 

 

 

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Date

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PLAINT ’ PROPOSED CLASS
COUNS

By:

 

Russ Herman

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Witness Signaturem/

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Date

 

 

 

 

 

 

 

 

 

jan

Witness Signature

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Date Date \

 

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Witness Signature

 

Printed Name

 

Date

PLAINTIFFS’ PROPOSED CLASS
COUNSEL

By: F (vm/ 6901/mw fc;l
\/

Ervin `Gi)nzalez

Print Name:

 

 

Witness Signature

 

Printed Name

 

Date

